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         126678256   E-Filed 05/12/2021 02:49:31 PM                             EXHIBIT "1"



                                                         IN THE CIRCUIT COURT FOR THE
                                                         11TH JUDICIAL CIRCUIT IN AND
                                                         FOR MIAMI-DADE COUNTY,
                                                         FLORIDA

                                                         CASE NO.:
       Ana Bracho,

       Plaintiff,

       v.

       Western World Insurance Company,

       Defendant.

                                COMPLAINT FOR BREACH OF CONTRACT
                 Plaintiff, Ana Bracho, (the "Insured"), hereby sues Defendant, Western World Insurance
       Company (the "Insurance Company"), and alleges as follows:

                                     PARTIES, JURISDICTION AND VENUE

            1. This is an action for damages that is more than $30,000.00 exclusive of interest, costs and

      attorney's fees.


            2. The Insured is an individual who at all times material hereto has resided in Miami-Dade

      County, Florida.


            3. The Insurance Company is qualified to do business in Florida and has, at all times material

      hereto, been conducting business in Miami-Dade County, Florida.


            4. Venue is proper in Miami-Dade County, Florida because the contract, which forms the subject

      matter of this lawsuit, was executed in Miami-Dade County, Florida.
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   5. All conditions precedent to the filing of this lawsuit have occurred, have been

waived or have been performed.

                                   GENERAL ALLEGATIONS


   6. At all times material hereto, in consideration of a premium paid by the Insured, there was in

full force and effect a certain homeowners insurance policy issued by the Insurance Company

with a policy number of WHO8002519 (the "Policy"). The Policy is attached hereto as Exhibit A

and incorporated into the Complaint by reference herein.


   7. Accordingly, under the terms of the Policy, the Insurance Company agreed to provide

insurance coverage to the Insured’s property pursuant to the terms of the policy. The damaged

property is located at 10429 NW 63rd Terrace Miami, Florida 33174 (the "Property").


   8. On or about 05/25/2020, while the Policy was in full force and effect, the Property sustained

a covered loss as a result of water damage (the "Loss").


   9. The Insurance Company assigned claim number 156143 to the Loss.


   10. Subsequently, the Insurance Company notified the Insured it believed the Loss was not

covered under the Policy. See Exhibit B. After diligent inspection of the Loss, it was obvious that

the Property sustained damage which the Insurance Company agreed to provide coverage for

under the terms of the Policy but which the Insurance Company failed to indemnify for.


   11. As a result of the foregoing, the Insurance Company has breached the Policy.


   12. The Insured has suffered and continues to suffer damages resulting from Insurance




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Company's breach of the Policy.


   13. The Insured has been obligated to retain the undersigned attorneys for the prosecution of

this action and is entitled to a reasonable attorney's fee pursuant to Florida Statute Section

627.428.

                                          COUNT I
                                     BREACH OF CONTRACT

       The Insured reincorporates paragraphs 1 through 13 as if fully set forth herein.

   14. It is undisputed that the Insured and the Insurance Company entered into a written
contract, the Policy, wherein the Insured agreed to pay a premium and the Insurance Company
agreed to insure the Insured’s Property.

   15. The Insured has paid all premiums due and owing as contemplated by the Policy; thus,
fully performing her obligations under the Policy.

   16. The Insured’s Property sustained damage which the Insurance Company agreed to provide
coverage for under the terms of the Policy.

   17. Furthermore, at all times material hereto, the Insured has satisfied all post-loss obligations to
the best of her ability in accordance with the Policy.

   18. In contrast, the Insurance Company has failed to: (i) acknowledge coverage for a portion of
the Loss; and/or (ii) pay Insured a sufficient amount for the loss. As a result of the foregoing, the
Insurance Company has breached the Policy.

   19. As a direct and proximate result of the Insurance Company’s breach of the policy, the Insured

has sustained damages.




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       WHEREFORE, the Insured respectfully requests that this Court, enter judgment against the

Insurance Company for damages, plus pre-judgment interest, court costs and reasonable attorney's

fees pursuant to Section 627.428, Florida Statutes.


                                     JURY TRIAL DEMAND

         The Insured hereby demands a trial by jury on all issues so triable.

  Dated May 12, 2021
                                             Respectfully submitted,

                                             Property & Casualty Law Group
                                             Counsel for the Insured
                                             2307 Douglas Road, Suite 302
                                             Miami, Fl 33145
                                             Tel.: 305-961-1038
                                             CSanti@pclawgroup.com

                                             /s/ Carlos Santi
                                             ________________________________
                                             Carlos L. Santi, Esq.
                                             Florida Bar No. 70529




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                                                    August 7, 2020




  Based upon our records, this is the policy issued to Ana Bracho, Policy No. WHO8002519.




                                                     Western World Insurance Company




                                                                              EXHIBIT A
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             W e s te rn W o rld In s u ra n c e C o .             T u d o r In s u ra n c e C o .                             S tra tfo rd In s u ra n c e C o .


                                      GENERAL CHANGE ENDORSEMENT

A tta c h in g to a n d fo rm in g a p a rt o f:

P o lic y    #:                                                                E ffe ctiv e D a te o f P o lic y :

E n d o rse m e n t # :                                                        E ffe c tiv e D a te o f E n d o rse m e n t:

In s u re d :




              A d d itio n a l P re m iu m      $                                     R e tu rn P re m iu m           $


T h e fo llo w in g c h a n g e (s ) is /a re m a d e in th is p o lic y :




D a te d :
                                                                                                                 A u th o riz e d A g e n t
Agent N o.

                                                                                                                                                W W 4 5 3 (1 0 /1 1 )


                                                                                                                       EXHIBIT A
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                  AFFIDAVIT OF JEAN MICHAEL CASTRO

     State of Florida
     Palm Beach County

     Before me the undersigned officer duly authorized to administer oaths,
     personally appeared Jean Michael Castro, who is personally known to me,
     and after having been duly sworn, deposes and states:

     1. My name is Jean Michael Castro, I am over the age of 18, I suffer from
        no legal disability, and I make this affidavit based upon my personal
        knowledge except as otherwise stated.

     2. I work for AmWINS Access Insurance Services, LLC (“AmWINS
        Access”) in its Palm Beach Gardens, Florida office. AmWINS Access is
        a North Carolina Limited Liability Company. AmWINS Access provides
        underwriting services to various insurance companies.

     3. I am an underwriter for AmWINS Access. AmWINS Access has a
        binding authority contract with Western World Insurance Company
        (“Western World”). Under that contract, AmWINS Access is authorized
        to issue policies according to Western World’s requirements.

     4. I was AmWINS Access’ underwriter for Western World’s Policy No.:
        WHO8002519 for the insured Ana Bracho (“Bracho”). My underwriting
        work on this account was subject to Western World’s approval.

     5. On behalf of Western World, and subject to its approval, I underwrote the
        property policy for Bracho, and caused Western World’s Policy No.:
        WHO8002519 to be issued.

     6. AmWINS Access maintains its insurance policy files electronically, in a
        paperless environment. Accordingly, the attached copy of the Policy is
        printed from an electronic database, and is a true copy of Western
        World’s Policy No.: WHO8002519 as maintained in the ordinary course
        of business.

     7. Attached, as Exhibit 1 is a true copy of Western World’s Policy No.:
        WHO8002519 for the insured Bracho. This coverage was underwritten
        by AmWINS Access through Western World.



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      8. The attached Western World Policy No.: WH08002519 is a true,
         complete copy of the policy and all endorsements as maintained by
         Am WINS Access in the ordinary course of its insurance business.


      FURTHER AFFIANT SAYETH NAUGHT

       V,'



    .-^ean^Michael Castro
    ^'Underwriter
      Am WINS Access Insurance Services, EEC


      Sworn and Subscribed before me this
                                                        A
                                                        ^;0\ JS   i    , 2020.
                                                          U



      NOTARY PUBLIC




                                                              EXHIBIT A
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                                Exhibit 1




                                                              EXHIBIT A
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 STOCK COMPANY                               HOMEOWNERS POLICY
                                                                          POLICY NUMBER: WHO8002519
                                                                            Prior Policy Number: WHO8002471

                                                                                  Related Policy:

HOMEOWNERS DECLARATIONS                                                    SLA# A166561
                                                                   General Agent: 09302
Named Insured and Mailing Address:                                     Producing Agent's Name:Jennifer Grimaldo
                                                                       Producing Agent's Address:
Ana Bracho                                                             11362 SW 184th St, Miami, FL 33157

                                                                       THIS INSURANCE IS ISSUED PURSUANT TO THE FLORIDA
                                                                       SURPLUS LINES LAW. PERSONS INSURED BY SURPLUS
10429 NW 63rd Ter                                                      LINES CARRIERS DO NOT HAVE THE PROTECTION OF THE
                                                                       FLORIDA INSURANCE GUARANTY ACT TO THE EXTENT OF
MIAMI, FL 33174                                                        ANY RIGHT OF RECOVERY FOR THE OBLIGATION OF AN
Producer:                                                              INSOLVENT UNLICENSED INSURER.

AmWINS Access Insurance Services                                       SURPLUS LINES INSURERS'
10201 Centurion Parkway North                                          POLICY RATES AND FORMS ARE
Suite 500
Jacksonville, FL 32256                                                 NOT APPROVED BY ANY FLORIDA
Policy Period: (Mo./Day/Yr.)                                           REGULATORY AGENCY.
From: 07/24/2019                  To: 07/24/2020            12:01 AM, standard time at your mailing address shown above.
We will provide the insurance described in this policy in return for the premium and compliance with all applicable policy
provisions. The residence premises covered by this policy is located at the above address unless otherwise stated:
10429 NW 63rd Terrace, DORAL, FL 33178



 COVERAGES AND LIMITS - Homeowners 3 - Special Form

 Section I - Property Coverages                                 Limit                                        Premium

 A.   Dwelling                                          $ 230,000                                      $ 1,435.00
 B.   Other Structures                                  $ 5,000                                        $ Included
 C.   Personal Property                                 $ 20,000                                       $ Included
 D.   Loss of Use                                       $ 15,000                                       $ Included




                                                           Section I Premium                           $ 1,435.00
 Deductible(s): Per Forms WH0303 & HO0312

 Section II - Liability Coverages                             Limit                                        Premium
 E.   Personal Liability                                $ 100,000                                      $ 58.00

 F.   Medical Payments To Others                        $ 2,500                                        $ Included

                                                           Section II Premium                          $ 58.00

                                                                                                            Premium
                                                             Optional Coverage Endorsements            $ 261.00

                           Forms and Endorsements: See Schedule of Forms and Endorsements
 "THIS POLICY CONTAINS A CO-PAY PROVISION THAT          TOTAL POLICY PREMIUM                           $ 1,754.00
 MAY RESULT IN HIGH OUT-OF-POCKET EXPENSES TO
 YOU."                                           Broker Fee                                            $ 35
 "THIS POLICY CONTAINS A SEPARATE DEDUCTIBLE FOR                                                       $ 89.45
                                                 SL Tax
 HURRICANE OR WIND LOSSES, WHICH MAY RESULT IN
                                                 EMPA                                                  $ 2.00
 HIGH OUT-OF-POCKET EXPENSES TO YOU."
                                                             SL Stamp Fee                              $ 1.79
                                                                                                       $
                                                                                                       $


                                                                                    GRAND TOTAL        $ 1,882.24

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                               HOMEOWNERS DECLARATIONS (continued)


                                                                        POLICY NUMBER: WHO8002519

 The Named Insured is:

 X Individual         Partnership   Limited Liability Company      Organization/Corporation      Trust

       Other


 Mortgagee/Lienholder(s)

               Name                                     Address                                           Loan Number
  1.    Eastern National Bank ISA 9700 South Dixie Highway #710
        OA/ATIMA                  Miami, FL, 33156
  2.


  3.




 Loss Payee(s) - Personal Property

               Name                                     Address                                          Personal Property
  1.


  2.


  3.




                                           Western World Insurance Company
                                                 Administrative Office
                                              300 Kimball Drive, Suite 500
                                            Parsippany, New Jersey 07054
                                             Telephone : 1-888-847-8600



We will provide the insurance described in this policy in return for the premium and compliance with all applicable
provisions of this policy. If required by state law, this policy shall not be valid unless countersigned by our authorized
representative.




                        Secretary                                                    President




 Countersigned:


                  08/21/2019    CASTROJE                                 By:
                                                                                        Authorized Representative




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               SCHEDULE OF FORMS AND ENDORSEMENTS
POLICY NUMBER:                                            NAMED INSURED
WHO8002519                                               Ana Bracho




Form/Endorsement No./Edition Date               Title   (Note- Titles are indications only. See actual form for correct name.)

WH0001(04_19)                  HOMEOWNERS POLICY DECLARATIONS
HO0003(05_11)                  HOMEOWNERS 3 - SPECIAL FORM
HO0312(05_11)                  WINDSTORM OR HAIL PERCENTAGE DEDUCTIBLE
HO0427(05_11)                  LIMITED FUNGI WET OR DRY ROT OR BACTERIA COVERAGE
HO0495(01_14)                  LMTD WATER BACK-UP & SUMP DISCHARGE OR OVERFLOW COV
WH0303(06_17)                  DEDUCTIBLES FORM
WH0401(04_16)                  COVERAGE B AMENDATORY ENDORSEMENT
WH0410(04_16)                  OUTDOOR PROPERTY EXCLUSION-WINDSTORM OR HAIL
WH0412(05_17)                  TEMPORARY AND EMERGENCY MEASURES ENDORSEMENT
WH0501(01_16)                  POLICY MINIMUM PREMIUM ENDORSEMENT
WH0502(01_16)                  WORK FROM HOME COVERAGE
WH0503(07_16)                  AI - STUDENT LIVING AWAY FROM THE RESIDENCE PREMISES
WH1202(08_16)                  PRIVACY NOTICE
WH1203(07_16)                  SERVICE OF SUIT
WH2401(10_16)                  DANGEROUS ANIMAL LIABILITY EXCLUSION ENDORSEMENT
WH2403(01_16)                  TRAMPOLINE EXCLUSION ENDORSEMENT
WH2404(01_16)                  MODEL HOBBY OR REMOTELY PILOTED UNMANNED ARCFT EXC END
WH2405(01_16)                  LMT OF LIAB AMENDATORY ENDT FIREARMS AGG LMT OF LIAB
WH2406(01_16)                  SKATEBOARD OR BICYCLE RAMPS EXCLUSION ENDT
WH2407(01_16)                  SWIMMING POOL/HOT TUB EXCLUSION ENDORSEMENT
WH2409(01_16)                  LEAD CONTAMINATION LIABILITY EXCLUSION ENDT
HO0109(09_15)                  SPECIAL PROVISIONS - FLORIDA
HO2366(01_19)                  SPECIAL NOTICE - FLORIDA
HO2370(05_13)                  WNDSTM OR HAIL EXTERIOR PAINT OR WP EXC-SEACOAST-FL




                                    ADDITIONAL FORMS AND ENDORSEMENTS




                                      INSURED
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                                                                                                      HOMEOWNERS
                                                                                                       HO 00 03 05 11

                        HOMEOWNERS 3 - SPECIAL FORM

AGREEMENT                                                         2. "Bodily injury" means bodily harm, sickness or
We will provide the insurance described in this policy               disease, including required care, loss of
in return for the premium and compliance with all                    services and death that results.
applicable provisions of this policy.                             3. "Business" means:
DEFINITIONS                                                          a. A trade, profession or occupation engaged
A. In this policy, "you" and "your" refer to the "named                 in on a full-time, part-time or occasional
   insured" shown in the Declarations and the spouse                    basis; or
   if a resident of the same household. "We", "us" and               b. Any other activity engaged in for money or
   "our" refer to the Company providing this                            other compensation, except the following:
   insurance.                                                          (1) One or more activities, not described in
B. In addition, certain words and phrases are defined                      (2) through (4) below, for which no
   as follows:                                                             "insured" receives more than $2,000 in
   1. "Aircraft Liability", "Hovercraft Liability", "Motor                 total compensation for the 12 months
      Vehicle Liability" and "Watercraft Liability",                       before the beginning of the policy
      subject to the provisions in b. below, mean the                      period;
      following:                                                       (2) Volunteer activities for which no money
       a. Liability for "bodily injury"    or   "property                  is received other than payment for
          damage" arising out of the:                                      expenses incurred to perform the
                                                                           activity;
         (1) Ownership of such vehicle or craft by an
             "insured";                                                (3) Providing home day care services for
                                                                           which no compensation is received,
         (2) Maintenance,     occupancy, operation,                        other than the mutual exchange of such
             use, loading or unloading of such vehicle                     services; or
             or craft by any person;
                                                                       (4) The rendering of home day care services
         (3) Entrustment of such vehicle or craft by                       to a relative of an "insured".
             an "insured" to any person;
                                                                  4. "Employee" means an employee of an "insured",
         (4) Failure   to supervise       or   negligent             or an employee leased to an "insured" by a
             supervision of any person involving such                labor leasing firm under an agreement between
             vehicle or craft by an "insured"; or                    an "insured" and the labor leasing firm, whose
         (5) Vicarious liability, whether or not                     duties are other than those performed by a
             imposed by law, for the actions of a child              "residence employee".
             or minor involving such vehicle or craft.            5. "Insured" means:
      b. For the purpose of this definition:                         a. You and residents of your household who
         (1) Aircraft means any contrivance used or                     are:
             designed for flight except model or                       (1) Your relatives; or
             hobby aircraft not used or designed to
             carry people or cargo;                                    (2) Other persons under the age of 21 and in
                                                                           your care or the care of a resident of
         (2) Hovercraft    means     a   self-propelled                    your household who is your relative;
             motorized ground effect vehicle and
             includes, but is not limited to, flarecraft             b. A student enrolled in school full-time, as
             and air cushion vehicles;                                  defined by the school, who was a resident of
                                                                        your household before moving out to attend
         (3) Watercraft means a craft principally                       school, provided the student is under the
             designed to be propelled on or in water                    age of:
             by wind, engine power or electric motor;
             and                                                       (1) 24 and your relative; or

         (4) Motor vehicle means a "motor vehicle" as
             defined in 7. below.




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        (2) 21 and in your care or the care of a                     g. Individual or family cemetery plots or burial
            resident of your household who is your                      vaults of an "insured"; or
            relative; or                                             h. Any part of a premises occasionally rented
      c. Under Section II:                                              to an "insured" for other than "business" use.
        (1) With respect to animals or watercraft to              7. "Motor vehicle" means:
            which this policy applies, any person or                 a. A self-propelled land or amphibious vehicle;
            organization legally responsible for these                  or
            animals or watercraft which are owned
            by you or any person described in 5.a.                   b. Any trailer or semitrailer which is being
            or b. "Insured" does not mean a person                      carried on, towed by or hitched for towing
            or organization using or having custody                     by a vehicle described in a. above.
            of these animals or watercraft in the                 8. "Occurrence" means an accident, including
            course of any "business" or without                      continuous    or  repeated     exposure   to
            consent of the owner; or                                 substantially the  same     general  harmful
        (2) With respect to a "motor vehicle" to                     conditions, which results, during the policy
            which this policy applies:                               period, in:

            (a) Persons while engaged in your                        a. "Bodily injury"; or
                employ or that of any person                         b. "Property damage".
                described in 5.a. or b.; or
                                                                  9. "Property damage" means physical injury to,
            (b) Other persons using the vehicle on                   destruction of, or loss of use of tangible
                an "insured location" with your                      property.
                consent.
                                                                10. "Residence employee" means:
      Under both Sections I and II, when the word an
                                                                     a. An employee of an "insured", or an
      immediately precedes the word "insured", the
                                                                        employee leased to an "insured" by a labor
      words an "insured" together mean one or more
                                                                        leasing firm, under an agreement between
      "insureds".
                                                                        an "insured" and the labor leasing firm,
   6. "Insured location" means:                                         whose duties are related to the maintenance
      a. The "residence premises";                                      or use of the "residence premises", including
                                                                        household or domestic services; or
      b. The part of other premises, other structures
         and grounds used by you as a residence;                     b. One who performs similar duties elsewhere
         and                                                            not related to the "business" of an "insured".

        (1) Which is shown in the Declarations; or                   A "residence employee" does not include a
                                                                     temporary employee who is furnished to an
        (2) Which is acquired by you during the                      "insured" to substitute for a permanent
            policy period for your use as a                          "residence employee" on leave or to meet
            residence;                                               seasonal or short-term workload conditions.
      c. Any premises used by you in connection                 11. "Residence premises" means:
         with a premises described in a. and b.
         above;                                                      a. The one-family dwelling where you reside;

      d. Any part of a premises:                                     b. The two-, three- or four-family dwelling
                                                                        where you reside in at least one of the family
        (1) Not owned by an "insured"; and                              units; or
        (2) Where an         "insured"   is   temporarily            c. That part of any other building where you
            residing;                                                   reside;
      e. Vacant land, other than farm land, owned by                 and which is shown as the "residence premises"
         or rented to an "insured";                                  in the Declarations.
       f. Land owned by or rented to an "insured" on                 "Residence premises" also includes         other
          which a one-, two-, three- or four-family                  structures and grounds at that location.
          dwelling is being built as a residence for an
          "insured";




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SECTION I - PROPERTY COVERAGES                                C. Coverage C - Personal Property
A. Coverage A - Dwelling                                          1. Covered Property
   1. We cover:                                                      We cover personal property owned or used by
      a. The dwelling on the "residence premises"                    an "insured" while it is anywhere in the world.
         shown in the Declarations, including                        After a loss and at your request, we will cover
         structures attached to the dwelling; and                    personal property owned by:

      b. Materials and supplies located on or next to                a. Others while the property is on the part of
         the "residence premises" used to construct,                    the "residence premises" occupied by an
         alter or repair the dwelling or other                          "insured"; or
         structures on the "residence premises".                     b. A guest or a "residence employee", while the
   2. We do not cover land, including land on which                     property is in any residence occupied by an
      the dwelling is located.                                          "insured".

B. Coverage B - Other Structures                                  2. Limit For Property At Other Locations

   1. We cover other structures on the "residence                    a. Other Residences
      premises" set apart from the dwelling by clear                    Our limit of liability for personal property
      space. This includes structures connected to                      usually located at an "insured's" residence,
      the dwelling by only a fence, utility line, or                    other than the "residence premises", is 10%
      similar connection.                                               of the limit of liability for Coverage C, or
   2. We do not cover:                                                  $1,000, whichever is greater. However, this
                                                                        limitation does not apply to personal
      a. Land, including land on which the other                        property:
         structures are located;
                                                                       (1) Moved from the "residence premises"
      b. Other structures rented or held for rental to                     because it is:
         any person not a tenant of the dwelling,
         unless used solely as a private garage;                           (a) Being repaired, renovated or rebuilt;
                                                                               and
      c. Other structures from which any "business"
         is conducted; or                                                  (b) Not fit to live in or store property in;
                                                                               or
      d. Other structures used to store "business"
         property. However, we do cover a structure                    (2) In a newly acquired principal residence
         that contains "business" property solely                          for 30 days from the time you begin to
         owned by an "insured" or a tenant of the                          move the property there.
         dwelling, provided that "business" property                 b. Self-storage Facilities
         does not include gaseous or liquid fuel,                       Our limit of liability for personal property
         other than fuel in a permanently installed fuel                owned or used by an "insured" and located
         tank of a vehicle or craft parked or stored in                 in a self-storage facility is 10% of the limit of
         the structure.                                                 liability for Coverage C, or $1,000, whichever
   3. The limit of liability for this coverage will not be              is greater. However, this limitation does not
      more than 10% of the limit of liability that applies              apply to personal property:
      to Coverage A. Use of this coverage does not                     (1) Moved from the "residence premises"
      reduce the Coverage A limit of liability.                            because it is:
                                                                           (a) Being repaired, renovated or rebuilt;
                                                                               and
                                                                           (b) Not fit to live in or store property in;
                                                                               or
                                                                       (2) Usually   located in  an  "insured's"
                                                                           residence, other than the "residence
                                                                           premises".




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   3. Special Limits Of Liability                                      (2) Is designed to be operated by more than
      The special limit for each category shown below                      one power source, one of which is a
      is the total limit for each loss for all property in                 "motor vehicle's" electrical system; and
      that category. These special limits do not                       (3) Is in or upon a "motor vehicle".
      increase the Coverage C limit of liability.                    k. $250 for antennas, tapes, wires, records,
      a. $200 on money, bank notes, bullion, gold                       disks or other media that are:
         other than goldware, silver other than                        (1) Used with electronic equipment that
         silverware,    platinum      other    than                        reproduces, receives or transmits audio,
         platinumware, coins, medals, scrip, stored                        visual or data signals; and
         value cards and smart cards.
                                                                       (2)   In or upon a "motor vehicle".
      b. $1,500 on securities, accounts, deeds,
         evidences of debt, letters of credit, notes              4. Property Not Covered
         other than bank notes, manuscripts,                         We do not cover:
         personal records, passports, tickets and
                                                                     a. Articles     separately    described     and
         stamps. This dollar limit applies to these
                                                                        specifically insured, regardless of the limit
         categories regardless of the medium (such
                                                                        for which they are insured, in this or other
         as paper or computer software) on which
                                                                        insurance;
         the material exists.
                                                                     b. Animals, birds or fish;
         This limit includes the cost to research,
         replace or restore the information from the                 c. "Motor vehicles".
         lost or damaged material.                                      This includes a "motor vehicle's" equipment
      c. $1,500 on watercraft of all types, including                   and parts. However, this Paragraph 4.c.
         their trailers, furnishings, equipment and                     does not apply to:
         outboard engines or motors.                                   (1) Portable electronic equipment that:
      d. $1,500 on trailers or semitrailers not used                         (a) Reproduces, receives or transmits
         with watercraft of all types.                                           audio, visual or data signals; and
      e. $1,500 for loss by theft of jewelry, watches,                       (b) Is designed so that it may be
         furs, precious and semiprecious stones.                                 operated from a power source other
       f. $2,500 for loss by theft of firearms and                               than a "motor vehicle's" electrical
          related equipment.                                                     system.

      g. $2,500 for loss by theft of silverware,                       (2) "Motor vehicles" not required to be
         silver-plated ware, goldware, gold-plated                         registered for use on public roads or
         ware, platinumware, platinum-plated ware                          property which are:
         and pewterware. This includes flatware,                             (a) Used   solely to service a residence;
         hollowware, tea sets, trays and trophies                                or
         made of or including silver, gold or pewter.
                                                                             (b) Designed to assist the handicapped;
      h. $2,500 on property, on the "residence
                                                                     d. Aircraft, meaning any contrivance used or
         premises", used primarily for "business"
                                                                        designed for flight, including any parts
         purposes.
                                                                        whether or not attached to the aircraft.
       i. $1,500 on property, away from the
                                                                        We do cover model or hobby aircraft not
          "residence premises", used primarily for
                                                                        used or designed to carry people or cargo;
          "business" purposes. However, this limit
          does not apply to antennas, tapes, wires,                  e. Hovercraft and parts. Hovercraft means a
          records, disks or other media that are:                       self-propelled motorized ground effect
                                                                        vehicle and includes, but is not limited to,
        (1) Used with electronic equipment that
                                                                        flarecraft and air cushion vehicles;
            reproduces, receives or transmits audio,
            visual or data signals; and                               f. Property of roomers, boarders and other
                                                                         tenants, except property of roomers and
        (2) In or upon a "motor vehicle".
                                                                         boarders related to an "insured";
       j. $1,500 on portable electronic equipment
          that:
        (1) Reproduces, receives or transmits audio,
            visual or data signals;




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      g. Property in an apartment regularly rented or             3. Civil Authority Prohibits Use
         held for rental to others by an "insured",                  If a civil authority prohibits you from use of the
         except as provided in E.10. Landlord's                      "residence premises" as a result of direct
         Furnishings under Section I - Property                      damage to neighboring premises by a Peril
         Coverages;                                                  Insured Against, we cover the loss as provided
      h. Property rented or held for rental to others                in 1. Additional Living Expense and 2. Fair
         off the "residence premises";                               Rental Value above for no more than two
       i. "Business" data, including such data stored                weeks.
          in:                                                     4. Loss Or Expense Not Covered
        (1) Books of account, drawings or other                      We do not cover loss or expense due to
            paper records; or                                        cancellation of a lease or agreement.
        (2) Computers and related equipment.                     The periods of time under 1. Additional Living
         We do cover the cost of blank recording or              Expense, 2. Fair Rental Value and 3. Civil Authority
         storage media and of prerecorded computer               Prohibits Use above are not limited by expiration of
         programs available on the retail market;                this policy.

      j. Credit cards, electronic fund transfer cards         E. Additional Coverages
         or access devices used solely for deposit,               1. Debris Removal
         withdrawal or transfer of funds except as                   a. We will pay your reasonable expense for the
         provided in E.6. Credit Card, Electronic                       removal of:
         Fund Transfer Card Or Access Device,
         Forgery And Counterfeit Money under                           (1) Debris of covered property if a Peril
         Section I - Property Coverages; or                                Insured Against that applies to the
                                                                           damaged property causes the loss; or
      k. Water or steam.
                                                                       (2) Ash, dust or particles from a volcanic
D. Coverage D - Loss Of Use                                                eruption that has caused direct loss to a
  The limit of liability for Coverage D is the total limit                 building or property contained in a
  for the coverages in 1. Additional Living Expense,                       building.
  2. Fair Rental Value and 3. Civil Authority Prohibits                 This expense is included in the limit of
  Use below.                                                            liability that applies to the damaged
   1. Additional Living Expense                                         property. If the amount to be paid for the
      If a loss covered under Section I makes that                      actual damage to the property plus the
      part of the "residence premises" where you                        debris removal expense is more than the
      reside not fit to live in, we cover any necessary                 limit of liability for the damaged property, an
      increase in living expenses incurred by you so                    additional 5% of that limit is available for
      that your household can maintain its normal                       such expense.
      standard of living.                                            b. We will also pay your reasonable expense,
      Payment will be for the shortest time required to                 up to $1,000, for the removal from the
      repair or replace the damage or, if you                           "residence premises" of:
      permanently relocate, the shortest time required                 (1) Your trees felled by the peril of
      for your household to settle elsewhere.                              Windstorm or Hail or Weight of Ice,
   2. Fair Rental Value                                                    Snow or Sleet; or

      If a loss covered under Section I makes that                     (2) A neighbor's trees felled by a Peril
      part of the "residence premises" rented to                           Insured Against under Coverage C;
      others or held for rental by you not fit to live in,              provided the trees:
      we cover the fair rental value of such premises                  (3) Damage a covered structure; or
      less any expenses that do not continue while it
      is not fit to live in.                                           (4) Do not damage a covered structure, but:

      Payment will be for the shortest time required to                    (a) Block a driveway on the "residence
      repair or replace such premises.                                         premises" which prevents a "motor
                                                                               vehicle", that is registered for use on
                                                                               public roads or property, from
                                                                               entering or leaving the "residence
                                                                               premises"; or




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            (b) Block a ramp or other fixture                    4. Fire Department Service Charge
                designed to assist a handicapped                    We will pay up to $500 for your liability assumed
                person to enter or leave the dwelling               by contract or agreement for fire department
                building.                                           charges incurred when the fire department is
         The $1,000 limit is the most we will pay in                called to save or protect covered property from
         any one loss, regardless of the number of                  a Peril Insured Against. We do not cover fire
         fallen trees. No more than $500 of this limit              department service charges if the property is
         will be paid for the removal of any one tree.              located within the limits of the city, municipality
         This coverage is additional insurance.                     or protection district furnishing the fire
                                                                    department response.
   2. Reasonable Repairs
                                                                    This coverage is additional insurance.         No
      a. We will pay the reasonable cost incurred by                deductible applies to this coverage.
         you for the necessary measures taken solely
         to protect covered property that is damaged             5. Property Removed
         by a Peril Insured Against from further                    We insure covered property against direct loss
         damage.                                                    from any cause while being removed from a
      b. If the measures taken involve repair to other              premises endangered by a Peril Insured Against
         damaged property, we will only pay if that                 and for no more than 30 days while removed.
         property is covered under this policy and the              This coverage does not change the limit of
         damage is caused by a Peril Insured                        liability that applies to the property being
         Against. This coverage does not:                           removed.
        (1) Increase the limit of liability that applies         6. Credit Card, Electronic Fund Transfer Card
            to the covered property; or                             Or Access Device, Forgery And Counterfeit
        (2) Relieve you of your duties, in case of a                Money
            loss to covered property, described in                  a. We will pay up to $500 for:
            C.4. under Section I - Conditions.                        (1) The legal obligation of an "insured" to
   3. Trees, Shrubs And Other Plants                                      pay because of the theft or unauthorized
      We cover trees, shrubs, plants or lawns, on the                     use of credit cards issued to or
      "residence premises", for loss caused by the                        registered in an "insured's" name;
      following Perils Insured Against:                               (2) Loss resulting from theft or unauthorized
      a. Fire or Lightning;                                               use of an electronic fund transfer card or
                                                                          access     device    used    for   deposit,
      b. Explosion;                                                       withdrawal or transfer of funds, issued to
      c. Riot or Civil Commotion;                                         or registered in an "insured's" name;
      d. Aircraft;                                                    (3) Loss to an "insured" caused by forgery or
                                                                          alteration of any check or negotiable
      e. Vehicles not owned or operated           by a
                                                                          instrument; and
         resident of the "residence premises";
                                                                      (4) Loss to an "insured" through acceptance
       f. Vandalism or Malicious Mischief; or
                                                                          in good faith of counterfeit United States
      g. Theft.                                                           or Canadian paper currency.
      We will pay up to 5% of the limit of liability that              All loss resulting    from a series of acts
      applies to the dwelling for all trees, shrubs,                   committed by any      one person or in which
      plants or lawns. No more than $500 of this limit                 any one person is     concerned or implicated
      will be paid for any one tree, shrub or plant. We                is considered to be   one loss.
      do not cover property grown for "business"
      purposes.
      This coverage is additional insurance.




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         This coverage is additional insurance. No                 b. We do not cover assessments charged
         deductible applies to this coverage.                         against you or a corporation or association
      b. We do not cover:                                             of property owners by any governmental
                                                                      body.
        (1) Use of a credit card, electronic fund
            transfer card or access device:                        c. Paragraph Q. Policy Period under Section I -
                                                                      Conditions does not apply to this coverage.
           (a) By a resident of your household;
                                                                   This coverage is additional insurance.
           (b) By a person who has been entrusted
               with either type of card or access               8. Collapse
               device; or                                          a. The coverage provided under this Additional
           (c) If an "insured" has not complied with                  Coverage - Collapse applies only to an
               all terms and conditions under which                   abrupt collapse.
               the cards are issued or the devices                 b. For the purpose of this Additional Coverage
               accessed; or                                           - Collapse, abrupt collapse means an abrupt
        (2) Loss arising out of "business" use or                     falling down or caving in of a building or any
            dishonesty of an "insured".                               part of a building with the result that the
                                                                      building or part of the building cannot be
      c. If the coverage in a. above applies, the                     occupied for its intended purpose.
         following defense provisions also apply:
                                                                   c. This Additional Coverage - Collapse does
        (1) We may investigate and settle any claim                   not apply to:
            or suit that we decide is appropriate. Our
            duty to defend a claim or suit ends when                 (1) A building or any part of a building that is
            the amount we pay for the loss equals                        in danger of falling down or caving in;
            our limit of liability.                                  (2) A part of a building that is standing, even
        (2) If a suit is brought against an "insured"                    if it has separated from another part of
            for liability under a.(1) or (2) above, we                   the building; or
            will provide a defense at our expense by                 (3) A building or any part of a building that is
            counsel of our choice.                                       standing, even if it shows evidence of
        (3) We have the option to defend at our                          cracking, bulging, sagging, bending,
            expense an "insured" or an "insured's"                       leaning, settling, shrinkage or expansion.
            bank   against  any    suit  for  the                  d. We insure for direct physical loss to covered
            enforcement of payment under a.(3)                        property involving abrupt collapse of a
            above.                                                    building or any part of a building if such
   7. Loss Assessment                                                 collapse was caused by one or more of the
                                                                      following:
      a. We will pay up to $1,000 for your share of
         loss assessment charged during the policy                   (1) The Perils Insured Against named under
         period against you, as owner or tenant of the                   Coverage C;
         "residence premises", by a corporation or                   (2) Decay, of a building or any part of a
         association of property owners. The                             building, that is hidden from view, unless
         assessment must be made as a result of                          the presence of such decay is known to
         direct loss to property, owned by all                           an "insured" prior to collapse;
         members collectively, of the type that would                (3) Insect or vermin damage, to a building or
         be covered by this policy if owned by you,                      any part of a building, that is hidden from
         caused by a Peril Insured Against under                         view, unless the presence of such
         Coverage A, other than:                                         damage is known to an "insured" prior to
        (1) Earthquake; or                                               collapse;
        (2) Land shock waves or tremors before,                      (4) Weight of contents, equipment, animals
            during or after a volcanic eruption.                         or people;
         The limit of $1,000 is the most we will pay                 (5) Weight of rain which collects on a roof;
         with respect to any one loss, regardless of                     or
         the number of assessments. We will only
         apply one deductible, per unit, to the total
         amount of any one loss to the property
         described above, regardless of the number
         of assessments.



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        (6) Use of defective material or methods in                This limit is the most we will pay in any one loss
            construction, remodeling or renovation if              regardless of the number of appliances,
            the collapse occurs during the course of               carpeting or other household furnishings
            the    construction,   remodeling     or               involved in the loss.
            renovation.                                            This coverage does not increase the limit of
      e. Loss to an awning, fence, patio, deck,                    liability applying to the damaged property.
         pavement, swimming pool, underground                 11. Ordinance Or Law
         pipe, flue, drain, cesspool, septic tank,
         foundation, retaining wall, bulkhead, pier,               a. You may use up to 10% of the limit of liability
         wharf or dock is not included under d.(2)                    that applies to Coverage A for the increased
         through (6) above, unless the loss is a direct               costs you incur due to the enforcement of
         result of the collapse of a building or any                  any ordinance or law which requires or
         part of a building.                                          regulates:

       f. This coverage does not increase the limit of               (1) The       construction,     demolition,
          liability that applies to the damaged covered                  remodeling, renovation or repair of that
          property.                                                      part of a covered building or other
                                                                         structure damaged by a Peril Insured
   9. Glass Or Safety Glazing Material                                   Against;
      a. We cover:                                                   (2) The demolition and reconstruction of the
        (1) The breakage of glass or safety glazing                      undamaged part of a covered building or
            material which is part of a covered                          other structure, when that building or
            building, storm door or storm window;                        other    structure  must    be     totally
        (2) The breakage of glass or safety glazing                      demolished because of damage by a
            material which is part of a covered                          Peril Insured Against to another part of
            building, storm door or storm window                         that covered building or other structure;
            when     caused   directly  by    earth                      or
            movement; and                                            (3) The remodeling, removal or replacement
        (3) The direct physical loss to covered                          of the portion of the undamaged part of a
            property caused solely by the pieces,                        covered building or other structure
            fragments or splinters of broken glass or                    necessary to complete the remodeling,
            safety glazing material which is part of a                   repair or replacement of that part of the
            building, storm door or storm window.                        covered building or other structure
                                                                         damaged by a Peril Insured Against.
      b. This coverage does not include loss:
                                                                   b. You may use all or part of this ordinance or
        (1) To covered property which results                         law coverage to pay for the increased costs
            because the glass or safety glazing                       you incur to remove debris resulting from
            material has been broken, except as                       the construction, demolition, remodeling,
            provided in a.(3) above; or                               renovation,   repair   or replacement of
        (2) On the "residence premises" if the                        property as stated in a. above.
            dwelling has been vacant for more than                 c. We do not cover:
            60 consecutive days immediately before
            the loss, except when the breakage                       (1) The loss in value to any covered building
            results directly from earth movement as                      or   other    structure   due    to   the
            provided in a.(2) above. A dwelling being                    requirements of any ordinance or law; or
            constructed is not considered vacant.                    (2) The costs to comply with any ordinance
      c. This coverage does not increase the limit of                    or law which requires any "insured" or
         liability that applies to the damaged                           others to test for, monitor, clean up,
         property.                                                       remove, contain, treat, detoxify or
                                                                         neutralize, or in any way respond to, or
  10. Landlord's Furnishings                                             assess the effects of, pollutants in or on
      We will pay up to $2,500 for your appliances,                      any covered building or other structure.
      carpeting and other household furnishings, in
      each apartment on the "residence premises"
      regularly rented or held for rental to others by
      an "insured", for loss caused by a Peril Insured
      Against in Coverage C, other than Theft.




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            Pollutants means any solid, liquid,                           However, if the building is protected by
            gaseous     or    thermal      irritant or                    an automatic fire protective sprinkler
            contaminant, including smoke, vapor,                          system, you must use reasonable care to
            soot, fumes, acids, alkalis, chemicals and                    continue the water supply and maintain
            waste. Waste includes materials to be                         heat in the building for coverage to
            recycled, reconditioned or reclaimed.                         apply.
      This coverage is additional insurance.                              For purposes of this provision, a
  12. Grave Markers                                                       plumbing      system    or   household
                                                                          appliance does not include a sump,
      We will pay up to $5,000 for grave markers,                         sump pump or related equipment or a
      including mausoleums, on or away from the                           roof drain, gutter, downspout or similar
      "residence premises" for loss caused by a Peril                     fixtures or equipment;
      Insured Against under Coverage C.
                                                                     (2) Freezing, thawing, pressure or weight of
      This coverage does not increase the limits of                      water or ice, whether driven by wind or
      liability that apply to the damaged covered                        not, to a:
      property.
                                                                         (a) Fence, pavement, patio or swimming
SECTION I - PERILS INSURED AGAINST                                           pool;
A. Coverage A - Dwelling And Coverage B - Other                          (b) Footing, foundation, bulkhead, wall,
   Structures                                                                or any other structure or device that
   1. We insure against direct physical loss         to                      supports all or part of a building, or
      property described in Coverages A and B.                               other structure;
   2. We do not insure, however, for loss:                               (c) Retaining wall or bulkhead that does
                                                                             not support all or part of a building or
      a. Excluded under Section I - Exclusions;
                                                                             other structure; or
      b. Involving collapse, including any of the
                                                                         (d) Pier, wharf or dock;
         following conditions of property or any part
         of the property:                                            (3) Theft in or to a dwelling under
                                                                         construction, or of materials         and
        (1) An abrupt falling down or caving in;
                                                                         supplies for use in the construction until
        (2) Loss of structural integrity, including                      the dwelling is finished and occupied;
            separation of parts of the property or
                                                                     (4) Vandalism and malicious mischief, and
            property in danger of falling down or
                                                                         any ensuing loss caused by any
            caving in; or
                                                                         intentional and wrongful act committed
        (3) Any cracking, bulging, sagging, bending,                     in the course of the vandalism or
            leaning, settling, shrinkage or expansion                    malicious mischief, if the dwelling has
            as such condition relates to (1) or (2)                      been    vacant    for  more    than    60
            above;                                                       consecutive days immediately before the
         except as provided in E.8. Collapse under                       loss. A dwelling being constructed is not
         Section I - Property Coverages; or                              considered vacant;

      c. Caused by:                                                  (5) Mold, fungus or wet rot. However, we do
                                                                         insure for loss caused by mold, fungus
        (1) Freezing of a plumbing, heating, air
                                                                         or wet rot that is hidden within the walls
            conditioning or automatic fire protective
                                                                         or ceilings or beneath the floors or above
            sprinkler system or of a household
                                                                         the ceilings of a structure if such loss
            appliance, or by discharge, leakage or
                                                                         results from the accidental discharge or
            overflow from within the system or
                                                                         overflow of water or steam from within:
            appliance caused by freezing. This
            provision does not apply if you have                         (a) A plumbing, heating, air conditioning
            used reasonable care to:                                         or automatic fire protective sprinkler
                                                                             system, or a household appliance, on
            (a) Maintain heat in the building; or
                                                                             the "residence premises"; or
            (b) Shut off the water supply and drain all
                                                                         (b) A storm drain, or water, steam or
                systems and appliances of water.
                                                                             sewer pipes, off the "residence
                                                                             premises".




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            For purposes of this provision, a                                (ii) Plumbing,        heating,       air
            plumbing      system     or  household                                conditioning or automatic fire
            appliance does not include a sump,                                    protective sprinkler system or
            sump pump or related equipment or a                                   household appliance on the
            roof drain, gutter, downspout or similar                              "residence     premises".      This
            fixtures or equipment; or                                             includes the cost to tear out and
        (6) Any of the following:                                                 replace any part of a building, or
                                                                                  other structure, on the "residence
           (a) Wear and tear, marring, deterioration;                             premises",    but    only     when
           (b) Mechanical breakdown, latent defect,                               necessary to repair the system or
               inherent vice or any quality in                                    appliance. However, such tear out
               property that causes it to damage or                               and replacement coverage only
               destroy itself;                                                    applies to other structures if the
                                                                                  water or steam causes actual
           (c) Smog, rust or other corrosion, or dry
                                                                                  damage to a building on the
               rot;
                                                                                  "residence premises".
           (d) Smoke from agricultural smudging or
                                                                      We do not cover loss to the system or
               industrial operations;
                                                                      appliance from which this water or steam
           (e) Discharge,     dispersal,    seepage,                  escaped.
               migration, release or escape of
                                                                      For purposes of this provision, a plumbing
               pollutants unless the discharge,
                                                                      system or household appliance does not
               dispersal,    seepage,       migration,
                                                                      include a sump, sump pump or related
               release or escape is itself caused by
                                                                      equipment   or   a     roof   drain,  gutter,
               a Peril Insured Against named under
                                                                      downspout or similar fixtures or equipment.
               Coverage C.
                                                                   Section I - Exclusion A.3. Water, Paragraphs a.
                Pollutants means any solid, liquid,
                                                                   and c. that apply to surface water and water
                gaseous or thermal irritant or
                                                                   below the surface of the ground do not apply to
                contaminant,     including    smoke,
                                                                   loss by water covered under c.(5) and (6)
                vapor, soot, fumes, acids, alkalis,
                                                                   above.
                chemicals and waste. Waste includes
                materials    to      be     recycled,              Under 2.b. and c. above, any ensuing loss to
                reconditioned or reclaimed;                        property described in Coverages A and B not
                                                                   precluded by any other provision in this policy
            (f) Settling,    shrinking,    bulging    or
                                                                   is covered.
                expansion,       including     resultant
                cracking, of bulkheads, pavements,          B. Coverage C - Personal Property
                patios, footings, foundations, walls,          We insure for direct physical loss to the property
                floors, roofs or ceilings;                     described in Coverage C caused by any of the
           (g) Birds, rodents or insects;                      following perils unless the loss is excluded in
                                                               Section I - Exclusions.
           (h) Nesting or infestation, or discharge
               or release of waste products or                  1. Fire Or Lightning
               secretions, by any animals; or                   2. Windstorm Or Hail
            (i) Animals owned       or   kept   by   an            This peril includes loss to watercraft of all types
                "insured".                                         and their trailers, furnishings, equipment, and
         Exception To c.(6)                                        outboard engines or motors, only while inside a
                                                                   fully enclosed building.
         Unless the loss is otherwise excluded, we
         cover loss to property covered under                      This peril does not include loss to the property
         Coverage A or B resulting from an                         contained in a building caused by rain, snow,
         accidental discharge or overflow of water or              sleet, sand or dust unless the direct force of
         steam from within a:                                      wind or hail damages the building causing an
                                                                   opening in a roof or wall and the rain, snow,
                (i) Storm drain, or water, steam or
                                                                   sleet, sand or dust enters through this opening.
                    sewer pipe, off the "residence
                    premises"; or




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      3. Explosion                                                 10. Falling Objects
      4. Riot Or Civil Commotion                                        This peril does not include loss to property
      5. Aircraft                                                       contained in a building unless the roof or an
                                                                        outside wall of the building is first damaged by a
         This peril includes self-propelled missiles and                falling object. Damage to the falling object itself
         spacecraft.                                                    is not included.
      6. Vehicles                                                  11. Weight Of Ice, Snow Or Sleet
      7. Smoke                                                          This peril means weight of ice, snow or sleet
         This peril means sudden and accidental                         which causes damage to property contained in
         damage from smoke, including the emission or                   a building.
         puffback of smoke, soot, fumes or vapors from             12. Accidental Discharge Or Overflow Of Water
         a boiler, furnace or related equipment.                       Or Steam
         This peril does not include loss caused by                     a. This peril means accidental discharge or
         smoke from agricultural smudging or industrial                    overflow of water or steam from within a
         operations.                                                       plumbing, heating, air conditioning or
      8. Vandalism Or Malicious Mischief                                   automatic fire protective sprinkler system or
                                                                           from within a household appliance.
      9. Theft
                                                                        b. This peril does not include loss:
         a. This peril includes attempted theft and loss
            of property from a known place when it is                      (1) To the system or appliance from which
            likely that the property has been stolen.                          the water or steam escaped;
         b. This peril does not include loss caused by                     (2) Caused by or resulting from freezing
            theft:                                                             except as provided in Peril Insured
                                                                               Against 14. Freezing;
           (1) Committed by an "insured";
                                                                           (3) On the "residence premises" caused by
           (2) In or to a dwelling under construction, or
                                                                               accidental discharge or overflow which
               of materials and supplies for use in the
                                                                               occurs off the "residence premises"; or
               construction until the dwelling is finished
               and occupied;                                               (4) Caused by mold, fungus or wet rot
                                                                               unless hidden within the walls or ceilings
           (3) From that part of a "residence premises"
                                                                               or beneath the floors or above the
               rented by an "insured" to someone other
                                                                               ceilings of a structure.
               than another "insured"; or
                                                                        c. In this peril, a plumbing system or
           (4) That occurs off the "residence premises"
                                                                           household appliance does not include a
               of:
                                                                           sump, sump pump or related equipment or
                 (a) Trailers, semitrailers and campers;                   a roof drain, gutter, downspout or similar
                 (b) Watercraft of all types, and their                    fixtures or equipment.
                     furnishings, equipment and outboard                d. Section I - Exclusion A.3. Water, Paragraphs
                     engines or motors; or                                 a. and c. that apply to surface water and
                 (c) Property while at any other residence                 water below the surface of the ground do
                     owned by, rented to, or occupied by                   not apply to loss by water covered under
                     an    "insured", except     while  an                 this peril.
                     "insured" is temporarily living there.        13. Sudden And Accidental Tearing Apart,
                     Property of an "insured" who is a                 Cracking, Burning Or Bulging
                     student is covered while at the
                                                                        This peril means sudden and accidental tearing
                     residence the student occupies to
                                                                        apart, cracking, burning or bulging of a steam
                     attend school as long as the student
                                                                        or hot water heating system, an air conditioning
                     has been there at any time during the
                                                                        or automatic fire protective sprinkler system, or
                     90 days immediately before the loss.
                                                                        an appliance for heating water.
                                                                        We do not cover loss caused by or resulting
                                                                        from freezing under this peril.




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  14. Freezing                                                      c. Requiring any "insured" or others to test for,
      a. This peril means freezing of a plumbing,                      monitor, clean up, remove, contain, treat,
         heating, air conditioning or automatic fire                   detoxify or neutralize, or in any way respond
         protective sprinkler system or of a                           to, or assess the effects of, pollutants.
         household appliance, but only if you have                     Pollutants means any solid, liquid, gaseous
         used reasonable care to:                                      or thermal irritant or contaminant, including
         (1) Maintain heat in the building; or                         smoke, vapor, soot, fumes, acids, alkalis,
                                                                       chemicals and waste. Waste includes
         (2) Shut off the water supply and drain all                   materials to be recycled, reconditioned or
             systems and appliances of water.                          reclaimed.
          However, if the building is protected by an               This Exclusion A.1. applies whether or not the
          automatic fire protective sprinkler system,               property has been physically damaged.
          you must use reasonable care to continue
          the water supply and maintain heat in the              2. Earth Movement
          building for coverage to apply.                           Earth Movement means:
      b. In this peril, a plumbing system or                        a. Earthquake, including land shock waves or
         household appliance does not include a                        tremors before, during or after a volcanic
         sump, sump pump or related equipment or                       eruption;
         a roof drain, gutter, downspout or similar                 b. Landslide, mudslide or mudflow;
         fixtures or equipment.
                                                                    c. Subsidence or sinkhole; or
  15. Sudden And Accidental Damage From
      Artificially Generated Electrical Current                     d. Any other earth movement including earth
                                                                       sinking, rising or shifting.
      This peril does not include loss to tubes,
      transistors, electronic components or circuitry               This Exclusion A.2. applies regardless of
      that is a part of appliances, fixtures, computers,            whether any of the above, in A.2.a. through
      home entertainment units or other types of                    A.2.d., is caused by an act of nature or is
      electronic apparatus.                                         otherwise caused.

  16. Volcanic Eruption                                             However, direct loss by fire, explosion or theft
                                                                    resulting from any of the above, in A.2.a.
      This peril does not include loss caused by                    through A.2.d., is covered.
      earthquake, land shock waves or tremors.
                                                                 3. Water
SECTION I - EXCLUSIONS
                                                                    This means:
A. We do not insure for loss caused directly or
   indirectly by any of the following. Such loss is                 a. Flood, surface water, waves, including tidal
   excluded regardless of any other cause or event                     wave and tsunami, tides, tidal water,
   contributing concurrently or in any sequence to the                 overflow of any body of water, or spray from
   loss. These exclusions apply whether or not the                     any of these, all whether or not driven by
   loss event results in widespread damage or affects                  wind, including storm surge;
   a substantial area.                                              b. Water which:
   1. Ordinance Or Law                                                (1) Backs up through sewers or drains; or
      Ordinance Or Law means any ordinance or law:                    (2) Overflows or is otherwise discharged
      a. Requiring or regulating the construction,                        from a sump, sump pump or related
         demolition, remodeling, renovation or repair                     equipment;
         of property, including removal of any                      c. Water below the surface of the ground,
         resulting debris. This Exclusion A.1.a. does                  including water which exerts pressure on, or
         not apply to the amount of coverage that                      seeps, leaks or flows through a building,
         may be provided for in E.11. Ordinance Or                     sidewalk,   driveway,   patio,   foundation,
         Law under Section I - Property Coverages;                     swimming pool or other structure; or
      b. The requirements of which result in a loss in              d. Waterborne material carried or otherwise
         value to property; or                                         moved by any of the water referred to in
                                                                       A.3.a. through A.3.c. of this exclusion.




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  This Exclusion A.3. applies regardless of whether                  This exclusion does not apply to such acts
  any of the above, in A.3.a. through A.3.d., is                     ordered by any governmental or public
  caused by an act of nature or is otherwise caused.                 authority that are taken at the time of a fire to
  This Exclusion A.3. applies to, but is not limited to,             prevent its spread, if the loss caused by fire
  escape, overflow or discharge, for any reason, of                  would be covered under this policy.
  water or waterborne material from a dam, levee,             B. We do not insure for loss to property described in
  seawall or any other boundary or containment                   Coverages A and B caused by any of the following.
  system.                                                        However, any ensuing loss to property described in
  However, direct loss by fire, explosion or theft               Coverages A and B not precluded by any other
  resulting from any of the above, in A.3.a. through             provision in this policy is covered.
  A.3.d., is covered.                                             1. Weather conditions. However, this exclusion
   4. Power Failure                                                  only applies if weather conditions contribute in
                                                                     any way with a cause or event excluded in A.
      Power Failure means the failure of power or                    above to produce the loss.
      other utility service if the failure takes place off
      the "residence premises". But if the failure                2. Acts or decisions, including the failure to act or
      results in a loss, from a Peril Insured Against on             decide, of any person, group, organization or
      the "residence premises", we will pay for the                  governmental body.
      loss caused by that peril.                                  3. Faulty, inadequate or defective:
   5. Neglect                                                        a. Planning, zoning, development, surveying,
      Neglect means neglect of an "insured" to use all                  siting;
      reasonable means to save and preserve                          b. Design, specifications, workmanship, repair,
      property at and after the time of a loss.                         construction,    renovation,   remodeling,
   6. War                                                               grading, compaction;

      War   includes   the    following    and        any            c. Materials used in repair,          construction,
      consequence of any of the following:                              renovation or remodeling; or

      a. Undeclared war, civil       war,   insurrection,            d. Maintenance;
         rebellion or revolution;                                    of part or all of any property whether on or off
      b. Warlike act by a military force or military                 the "residence premises".
         personnel; or                                        SECTION I - CONDITIONS
      c. Destruction, seizure or use for a military           A. Insurable Interest And Limit Of Liability
         purpose.                                                Even if more than one person has an insurable
      Discharge of a nuclear weapon will be deemed               interest in the property covered, we will not be
      a warlike act even if accidental.                          liable in any one loss:
   7. Nuclear Hazard                                              1. To an "insured" for more than the amount of
      This Exclusion A.7. pertains to Nuclear Hazard                 such "insured's" interest at the time of loss; or
      to the extent set forth in N. Nuclear Hazard                2. For more than the applicable limit of liability.
      Clause under Section I - Conditions.                    B. Deductible
   8. Intentional Loss                                           Unless otherwise noted in this policy, the following
      Intentional Loss means any loss arising out of             deductible provision applies:
      any act an "insured" commits or conspires to               With respect to any one loss:
      commit with the intent to cause a loss.
                                                                  1. Subject to the applicable limit of liability, we will
      In the event of such loss, no "insured" is entitled            pay only that part of the total of all loss payable
      to coverage, even "insureds" who did not                       that exceeds the deductible amount shown in
      commit or conspire to commit the act causing                   the Declarations.
      the loss.
                                                                  2. If two or more deductibles under this policy
   9. Governmental Action                                            apply to the loss, only the highest deductible
      Governmental Action means the destruction,                     amount will apply.
      confiscation or seizure of property described in
      Coverage A, B or C by order of any
      governmental or public authority.




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C. Duties After Loss                                                 g. Receipts for additional living expenses
   In case of a loss to covered property, we have no                    incurred and records that support the fair
   duty to provide coverage under this policy if the                    rental value loss; and
   failure to comply with the following duties is                    h. Evidence or affidavit that supports a claim
   prejudicial to us. These duties must be performed                    under E.6. Credit Card, Electronic Fund
   either by you, an "insured" seeking coverage, or a                   Transfer Card Or Access Device, Forgery
   representative of either:                                            And Counterfeit Money under Section I -
   1. Give prompt notice to us or our agent;                            Property Coverages, stating the amount and
                                                                        cause of loss.
   2. Notify the police in case of loss by theft;
                                                              D. Loss Settlement
   3. Notify the credit card or electronic fund transfer
      card or access device company in case of loss              In this Condition D., the terms "cost to repair or
      as provided for in E.6. Credit Card, Electronic            replace" and "replacement cost" do not include the
      Fund Transfer Card Or Access Device, Forgery               increased costs incurred to comply with the
      And Counterfeit Money under Section I -                    enforcement of any ordinance or law, except to the
      Property Coverages;                                        extent that coverage for these increased costs is
                                                                 provided in E.11. Ordinance Or Law under Section
   4. Protect the property from further damage. If               I - Property Coverages. Covered property losses
      repairs to the property are required, you must:            are settled as follows:
      a. Make reasonable and necessary repairs to                 1. Property of the following types:
         protect the property; and
                                                                     a. Personal property;
      b. Keep an accurate record of repair expenses;
                                                                     b. Awnings, carpeting, household appliances,
   5. Cooperate with us in the investigation of a                       outdoor antennas and outdoor equipment,
      claim;                                                            whether or not attached to buildings;
   6. Prepare an inventory of damaged personal                       c. Structures that are not buildings; and
      property showing the quantity, description,
      actual cash value and amount of loss. Attach all               d. Grave markers, including mausoleums;
      bills, receipts and related documents that justify             at actual cash value at the time of loss but not
      the figures in the inventory;                                  more than the amount required to repair or
   7. As often as we reasonably require:                             replace.

      a. Show the damaged property;                               2. Buildings covered under Coverage A or B at
                                                                     replacement cost       without    deduction for
      b. Provide us with records and documents we                    depreciation, subject to the following:
         request and permit us to make copies; and
                                                                     a. If, at the time of loss, the amount of
      c. Submit to examination under oath, while not                    insurance in this policy on the damaged
         in the presence of another "insured", and                      building is 80% or more of the full
         sign the same;                                                 replacement      cost    of   the    building
   8. Send to us, within 60 days after our request,                     immediately before the loss, we will pay the
      your signed, sworn proof of loss which sets                       cost to repair or replace, without deduction
      forth, to the best of your knowledge and belief:                  for depreciation, but not more than the least
                                                                        of the following amounts:
      a. The time and cause of loss;
                                                                        (1) The limit of liability under this policy that
      b. The interests of all "insureds" and all others
                                                                            applies to the building;
         in the property involved and all liens on the
         property;                                                      (2) The replacement cost of that part of the
                                                                            building damaged with material of like
      c. Other insurance which may cover the loss;
                                                                            kind and quality and for like use; or
      d. Changes in title or occupancy of           the
                                                                        (3) The necessary amount actually spent to
         property during the term of the policy;
                                                                            repair or replace the damaged building.
      e. Specifications of damaged buildings and
                                                                        If the building is rebuilt at a new premises,
         detailed repair estimates;
                                                                        the cost described in (2) above is limited to
       f. The inventory of damaged personal property                    the cost which would have been incurred if
          described in 6. above;                                        the building had been built at the original
                                                                        premises.




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       b. If, at the time of loss, the amount of                     e. You may disregard the replacement cost
          insurance in this policy on the damaged                       loss settlement provisions and make claim
          building is less than 80% of the full                         under this policy for loss to buildings on an
          replacement      cost     of    the  building                 actual cash value basis. You may then make
          immediately before the loss, we will pay the                  claim for any additional liability according to
          greater of the following amounts, but not                     the provisions of this Condition D. Loss
          more than the limit of liability under this                   Settlement, provided you notify us, within
          policy that applies to the building:                          180 days after the date of loss, of your intent
         (1) The actual cash value of that part of the                  to repair or replace the damaged building.
             building damaged; or                             E. Loss To A Pair Or Set
         (2) That proportion of the cost to repair or            In case of loss to a pair or set we may elect to:
             replace,     without     deduction   for             1. Repair or replace any part to restore the pair or
             depreciation, that part of the building                 set to its value before the loss; or
             damaged, which the total amount of
             insurance in this policy on the damaged              2. Pay the difference between actual cash value of
             building bears to 80% of the replacement                the property before and after the loss.
             cost of the building.                            F. Appraisal
       c. To determine the amount of insurance                   If you and we fail to agree on the amount of loss,
          required to equal 80% of the full                      either may demand an appraisal of the loss. In this
          replacement    cost    of    the   building            event, each party will choose a competent and
          immediately before the loss, do not include            impartial appraiser within 20 days after receiving a
          the value of:                                          written request from the other. The two appraisers
         (1) Excavations,     footings,   foundations,           will choose an umpire. If they cannot agree upon
             piers, or any other structures or devices           an umpire within 15 days, you or we may request
             that support all or part of the building,           that the choice be made by a judge of a court of
             which are below the undersurface of the             record in the state where the "residence premises"
             lowest basement floor;                              is located. The appraisers will separately set the
                                                                 amount of loss. If the appraisers submit a written
         (2) Those supports described in (1) above               report of an agreement to us, the amount agreed
             which are below the surface of the                  upon will be the amount of loss. If they fail to agree,
             ground inside the foundation walls, if              they will submit their differences to the umpire. A
             there is no basement; and                           decision agreed to by any two will set the amount
         (3) Underground flues, pipes, wiring and                of loss.
             drains.                                             Each party will:
       d. We will pay no more than the actual cash                1. Pay its own appraiser; and
          value of the damage until actual repair or
          replacement is complete. Once actual repair             2. Bear the other expenses of the appraisal and
          or replacement is complete, we will settle                 umpire equally.
          the loss as noted in 2.a. and b. above.             G. Other Insurance And Service Agreement
          However, if the cost to repair or replace the          If a loss covered by this policy is also covered by:
          damage is both:
                                                                  1. Other insurance, we will pay only the proportion
         (1) Less than 5% of the amount of insurance                 of the loss that the limit of liability that applies
             in this policy on the building; and                     under this policy bears to the total amount of
          (2) Less than $2,500;                                      insurance covering the loss; or
we will settle the loss as noted in 2.a. and b. above             2. A service agreement, this insurance is excess
whether or not actual repair or replacement is                       over any amounts payable under any such
complete.                                                            agreement. Service agreement means a service
                                                                     plan, property restoration plan, home warranty
                                                                     or other similar service warranty agreement,
                                                                     even if it is characterized as insurance.




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H. Suit Against Us                                                4. If we pay the mortgagee for any loss and deny
   No action can be brought against us unless there                  payment to you:
   has been full compliance with all of the terms under              a. We are subrogated to all the rights of the
   Section I of this policy and the action is started                   mortgagee granted under the mortgage on
   within two years after the date of loss.                             the property; or
I. Our Option                                                        b. At our option, we may pay to the mortgagee
   If we give you written notice within 30 days after we                the whole principal on the mortgage plus
   receive your signed, sworn proof of loss, we may                     any accrued interest. In this event, we will
   repair or replace any part of the damaged property                   receive a full assignment and transfer of the
   with material or property of like kind and quality.                  mortgage and all securities held as collateral
                                                                        to the mortgage debt.
J. Loss Payment
                                                                  5. Subrogation will not impair the right of the
   We will adjust all losses with you. We will pay you               mortgagee to recover the full amount of the
   unless some other person is named in the policy or                mortgagee's claim.
   is legally entitled to receive payment. Loss will be
   payable 60 days after we receive your proof of loss        M. No Benefit To Bailee
   and:                                                          We will not recognize any assignment or grant any
   1. Reach an agreement with you;                               coverage that benefits a person or organization
                                                                 holding, storing or moving property for a fee
   2. There is an entry of a final judgment; or                  regardless of any other provision of this policy.
   3. There is a filing of an appraisal award with us.        N. Nuclear Hazard Clause
K. Abandonment Of Property                                        1. "Nuclear Hazard" means any nuclear reaction,
   We need not accept any property abandoned by an                   radiation, or radioactive contamination, all
   "insured".                                                        whether controlled or uncontrolled or however
                                                                     caused, or any consequence of any of these.
L. Mortgage Clause
                                                                  2. Loss caused by the nuclear hazard will not be
   1. If a mortgagee is named in this policy, any loss
                                                                     considered loss caused by fire, explosion, or
      payable under Coverage A or B will be paid to
                                                                     smoke, whether these perils are specifically
      the mortgagee and you, as interests appear. If
                                                                     named in or otherwise included within the Perils
      more than one mortgagee is named, the order
                                                                     Insured Against.
      of payment will be the same as the order of
      precedence of the mortgages.                                3. This policy does not apply under Section I to
                                                                     loss caused directly or indirectly by nuclear
   2. If we deny your claim, that denial will not apply
                                                                     hazard, except that direct loss by fire resulting
      to a valid claim of the mortgagee, if the
                                                                     from the nuclear hazard is covered.
      mortgagee:
                                                              O. Recovered Property
      a. Notifies us of any change in ownership,
         occupancy or substantial change in risk of              If you or we recover any property for which we
         which the mortgagee is aware;                           have made payment under this policy, you or we
                                                                 will notify the other of the recovery. At your option,
      b. Pays any premium due under this policy on
                                                                 the property will be returned to or retained by you
         demand if you have neglected to pay the
                                                                 or it will become our property. If the recovered
         premium; and
                                                                 property is returned to or retained by you, the loss
      c. Submits a signed, sworn statement of loss               payment will be adjusted based on the amount you
         within 60 days after receiving notice from us           received for the recovered property.
         of your failure to do so. Paragraphs F.
                                                              P. Volcanic Eruption Period
         Appraisal, H. Suit Against Us and J. Loss
         Payment under Section I - Conditions also               One or more volcanic eruptions that occur within a
         apply to the mortgagee.                                 72-hour period will be considered as one volcanic
                                                                 eruption.
   3. If we decide to cancel or not to renew this
      policy, the mortgagee will be notified at least 10      Q. Policy Period
      days before the date cancellation or nonrenewal            This policy applies only to loss which occurs during
      takes effect.                                              the policy period.




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R. Concealment Or Fraud                                           2. To a person off the "insured location", if the
   We provide coverage to no "insureds" under this                   "bodily injury":
   policy if, whether before or after a loss, an "insured"           a. Arises out of a condition on the "insured
   has:                                                                 location" or the ways immediately adjoining;
   1. Intentionally concealed or misrepresented any                  b. Is caused by the activities of an "insured";
      material fact or circumstance;                                 c. Is caused by a "residence employee" in the
   2. Engaged in fraudulent conduct; or                                 course of the "residence employee's"
   3. Made false statements;                                            employment by an "insured"; or

   relating to this insurance.                                       d. Is caused by an animal owned by or in the
                                                                        care of an "insured".
S. Loss Payable Clause
                                                              SECTION II - EXCLUSIONS
   If the Declarations shows a loss payee for certain
   listed insured personal property, the definition of        A. "Motor Vehicle Liability"
   "insured" is changed to include that loss payee with           1. Coverages E and F do not apply to any "motor
   respect to that property.                                         vehicle liability" if, at the time and place of an
   If we decide to cancel or not renew this policy, that             "occurrence", the involved "motor vehicle":
   loss payee will be notified in writing.                           a. Is registered for use on public roads or
SECTION II - LIABILITY COVERAGES                                        property;

A. Coverage E - Personal Liability                                   b. Is not registered for use on public roads or
                                                                        property, but such registration is required by
   If a claim is made or a suit is brought against an                   a law, or regulation issued by a government
   "insured" for damages because of "bodily injury" or                  agency, for it to be used at the place of the
   "property damage" caused by an "occurrence" to                       "occurrence"; or
   which this coverage applies, we will:
                                                                     c. Is being:
   1. Pay up to our limit of liability for the damages for
      which an "insured" is legally liable. Damages                     (1) Operated in, or practicing for, any
      include prejudgment interest awarded against                          prearranged or organized race, speed
      an "insured"; and                                                     contest or other competition;

   2. Provide a defense at our expense by counsel of                    (2) Rented to others;
      our choice, even if the suit is groundless, false                 (3) Used to carry persons or cargo for a
      or fraudulent. We may investigate and settle any                      charge; or
      claim or suit that we decide is appropriate. Our                  (4) Used for any "business" purpose except
      duty to settle or defend ends when our limit of                       for a motorized golf cart while on a
      liability for the "occurrence" has been exhausted                     golfing facility.
      by payment of a judgment or settlement.
                                                                  2. If Exclusion A.1. does not apply, there is still no
B. Coverage F - Medical Payments To Others                           coverage for "motor vehicle liability", unless the
   We will pay the necessary medical expenses that                   "motor vehicle" is:
   are incurred or medically ascertained within three                a. In dead storage on an "insured location";
   years from the date of an accident causing "bodily
   injury". Medical expenses means reasonable                        b. Used solely to service a residence;
   charges for medical, surgical, x-ray, dental,                     c. Designed to assist the handicapped and, at
   ambulance,     hospital,   professional   nursing,                   the time of an "occurrence", it is:
   prosthetic devices and funeral services. This
                                                                        (1) Being used to assist a handicapped
   coverage does not apply to you or regular
                                                                            person; or
   residents of your household except "residence
   employees". As to others, this coverage applies                      (2) Parked on an "insured location";
   only:                                                             d. Designed for recreational use off public
   1. To a person on the "insured location" with the                    roads and:
      permission of an "insured"; or                                    (1) Not owned by an "insured"; or




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         (2) Owned by an "insured" provided the                      d. Used for any "business" purpose.
             "occurrence" takes place:                            2. If Exclusion B.1. does not apply, there is still no
             (a) On an "insured location" as defined in              coverage for "watercraft liability" unless, at the
                 Definition B.6.a., b., d., e. or h.; or             time of the "occurrence", the watercraft:
             (b) Off an "insured location" and the                   a. Is stored;
                 "motor vehicle" is:                                 b. Is a sailing vessel, with or without auxiliary
                 (i) Designed as a toy vehicle for use                  power, that is:
                     by children under seven years of                   (1) Less than 26 feet in overall length; or
                     age;
                                                                        (2) 26 feet or more in overall length and not
                (ii) Powered     by    one    or   more                     owned by or rented to an "insured"; or
                     batteries; and
                                                                     c. Is not a sailing vessel and is powered by:
                (iii) Not built   or modified    after
                      manufacture to exceed a speed of                  (1) An inboard or inboard-outdrive engine or
                      five miles per hour on level                          motor, including those that power a
                      ground;                                               water jet pump, of:

       e. A motorized golf cart that is owned by an                         (a) 50 horsepower or less and not owned
          "insured", designed to carry up to four                               by an "insured"; or
          persons, not built or modified after                             (b) More than 50 horsepower and not
          manufacture to exceed a speed of 25 miles                            owned by or rented to an "insured";
          per hour on level ground and, at the time of                         or
          an "occurrence", is within the legal
                                                                        (2) One or more         outboard     engines   or
          boundaries of:
                                                                            motors with:
         (1) A golfing facility and is parked or stored
                                                                            (a) 25 total horsepower or less;
             there, or being used by an "insured" to:
                                                                           (b) More than 25 horsepower if the
             (a) Play the game of golf or for other
                                                                               outboard engine or motor is not
                 recreational or leisure activity allowed
                                                                               owned by an "insured";
                 by the facility;
                                                                            (c) More than 25 horsepower if the
             (b) Travel to or from an area where
                                                                                outboard engine or motor is owned
                 "motor vehicles" or golf carts are
                                                                                by an "insured" who acquired it
                 parked or stored; or
                                                                                during the policy period; or
             (c) Cross public roads at designated
                                                                           (d) More than 25 horsepower if the
                 points to access other parts of the
                                                                               outboard engine or motor is owned
                 golfing facility; or
                                                                               by an "insured" who acquired it
         (2) A    private    residential   community,                          before the policy period, but only if:
             including its public roads upon which a
                                                                                (i) You declare       them    at    policy
             motorized golf cart can legally travel,
                                                                                    inception; or
             which is subject to the authority of a
             property     owners    association  and                           (ii) Your intent to insure them is
             contains an "insured's" residence.                                     reported to us in writing within 45
                                                                                    days after you acquire them.
B. "Watercraft Liability"
                                                                            The coverages in (c) and (d) above
   1. Coverages E and F do not apply to any
                                                                            apply for the policy period.
      "watercraft liability" if, at the time of an
      "occurrence", the involved watercraft is being:                    Horsepower means the maximum power
                                                                         rating assigned to the engine or motor by
       a. Operated in, or practicing         for,  any
                                                                         the manufacturer.
          prearranged or organized race, speed
          contest or other competition. This exclusion        C. "Aircraft Liability"
          does not apply to a sailing vessel or a                This policy does not cover "aircraft liability".
          predicted log cruise;
                                                              D. "Hovercraft Liability"
       b. Rented to others;
                                                                 This policy does not cover "hovercraft liability".
       c. Used to carry persons or cargo for a charge;
          or




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E. Coverage E - Personal Liability And Coverage F -              4. "Insured's" Premises Not An "Insured
   Medical Payments To Others                                       Location"
   Coverages E and F do not apply to the following:                 "Bodily injury" or "property damage" arising out
   1. Expected Or Intended Injury                                   of a premises:

      "Bodily injury" or "property damage" which is                 a. Owned by an "insured";
      expected or intended by an "insured", even if                 b. Rented to an "insured"; or
      the resulting "bodily injury" or "property                    c. Rented to others by an "insured";
      damage":
                                                                    that is not an "insured location";
      a. Is of a different kind, quality or degree than
         initially expected or intended; or                      5. War

      b. Is sustained by a different person, entity or              "Bodily injury" or "property damage" caused
         property than initially expected or intended.              directly or indirectly by war, including the
                                                                    following and any consequence of any of the
      However, this Exclusion E.1. does not apply to                following:
      "bodily injury" or "property damage" resulting
      from the use of reasonable force by an "insured"              a. Undeclared war, civil        war,   insurrection,
      to protect persons or property;                                  rebellion or revolution;

   2. "Business"                                                    b. Warlike act by a military force or military
                                                                       personnel; or
      a. "Bodily injury" or "property damage" arising
         out of or in connection with a "business"                  c. Destruction, seizure or use for a military
         conducted from an "insured location" or                       purpose.
         engaged in by an "insured", whether or not                 Discharge of a nuclear weapon will be deemed
         the "business" is owned or operated by an                  a warlike act even if accidental;
         "insured" or employs an "insured".
                                                                 6. Communicable Disease
         This Exclusion E.2. applies but is not limited
                                                                    "Bodily injury" or "property damage" which
         to an act or omission, regardless of its
                                                                    arises  out    of  the  transmission  of a
         nature or circumstance, involving a service
                                                                    communicable disease by an "insured";
         or duty rendered, promised, owed, or
         implied to be provided because of the                   7. Sexual Molestation, Corporal Punishment Or
         nature of the "business".                                  Physical Or Mental Abuse

      b. This Exclusion E.2. does not apply to:                     "Bodily injury" or "property damage" arising out
                                                                    of sexual molestation, corporal punishment or
         (1) The rental or holding for rental of an
                                                                    physical or mental abuse; or
             "insured location";
                                                                 8. Controlled Substance
            (a) On an occasional basis if used only
                as a residence;                                     "Bodily injury" or "property damage" arising out
                                                                    of the use, sale, manufacture, delivery, transfer
            (b) In part for use only as a residence,
                                                                    or possession by any person of a Controlled
                unless a single-family unit is intended
                                                                    Substance as defined by the Federal Food and
                for use by the occupying family to
                                                                    Drug Law at 21 U.S.C.A. Sections 811 and 812.
                lodge more than two roomers or
                                                                    Controlled Substances include but are not
                boarders; or
                                                                    limited to cocaine, LSD, marijuana and all
            (c) In part, as an office, school, studio or            narcotic drugs. However, this exclusion does
                private garage; and                                 not apply to the legitimate use of prescription
         (2) An "insured" under the age of 21 years                 drugs by a person following the lawful orders of
             involved in a part-time or occasional,                 a licensed health care professional.
             self-employed   "business"   with  no              Exclusions A. "Motor Vehicle Liability", B.
             employees;                                         "Watercraft Liability", C. "Aircraft Liability", D.
   3. Professional Services                                     "Hovercraft Liability" and E.4. "Insured's" Premises
                                                                Not An "Insured Location" do not apply to "bodily
      "Bodily injury" or "property damage" arising out          injury" to a "residence employee" arising out of and
      of the rendering of or failure to render                  in the course of the "residence employee's"
      professional services;                                    employment by an "insured".




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F. Coverage E - Personal Liability                                  b. Would be an insured under such a policy but
   Coverage E does not apply to:                                       for the exhaustion of its limit of liability; or

   1. Liability:                                                 6. "Bodily injury" to you or an "insured" as defined
                                                                    under Definition 5.a. or b.
      a. For any loss assessment charged against
         you as a member of an association,                         This exclusion also applies to any claim made
         corporation or community of property                       or suit brought against you or an "insured" to:
         owners, except as provided in D. Loss                      a. Repay; or
         Assessment under Section II –
                                     - Additional                   b. Share damages with;
         Coverages;
                                                                    another person who may be obligated to pay
      b. Under any contract or agreement entered                    damages because of "bodily injury" to an
         into by an "insured". However, this exclusion              "insured".
         does not apply to written contracts:
                                                             G. Coverage F - Medical Payments To Others
         (1) That directly relate to the ownership,
             maintenance or use of an "insured                  Coverage F does not apply to "bodily injury":
             location"; or                                       1. To a "residence employee" if the "bodily injury":
         (2) Where the liability of others is assumed               a. Occurs off the "insured location"; and
             by you prior to an "occurrence";
                                                                    b. Does not arise out of or in the course of the
          unless excluded in a. above or elsewhere in                  "residence employee's" employment by an
          this policy;                                                 "insured";
   2. "Property damage" to property owned by an                  2. To any person eligible to receive benefits
      "insured". This includes costs or expenses                    voluntarily provided or required to be provided
      incurred by an "insured" or others to repair,                 under any:
      replace, enhance, restore or maintain such
                                                                    a. Workers' compensation law;
      property to prevent injury to a person or
      damage to property of others, whether on or                   b. Non-occupational disability law; or
      away from an "insured location";                              c. Occupational disease law;
   3. "Property damage" to property rented            to,        3. From any:
      occupied or used by or in the care of           an
                                                                    a. Nuclear reaction;
      "insured". This exclusion does not apply         to
      "property damage" caused by fire, smoke          or           b. Nuclear radiation; or
      explosion;                                                    c. Radioactive contamination;
   4. "Bodily injury" to any person eligible to receive             all whether controlled      or   uncontrolled   or
      any benefits voluntarily provided or required to              however caused; or
      be provided by an "insured" under any:
                                                                    d. Any consequence of any of these; or
      a. Workers' compensation law;
                                                                 4. To any person, other than a "residence
      b. Non-occupational disability law; or                        employee" of an "insured", regularly residing on
      c. Occupational disease law;                                  any part of the "insured location".
   5. "Bodily injury" or "property damage" for which         SECTION II - ADDITIONAL COVERAGES
      an "insured" under this policy:                        We cover the following in addition to the limits of
      a. Is also an insured under a nuclear energy           liability:
         liability policy issued by the:                     A. Claim Expenses
         (1) Nuclear   Energy      Liability   Insurance        We pay:
             Association;
                                                                 1. Expenses we incur and costs taxed against an
         (2) Mutual    Atomic        Energy      Liability          "insured" in any suit we defend;
             Underwriters;
                                                                 2. Premiums on bonds required in a suit we
         (3) Nuclear     Insurance     Association     of           defend, but not for bond amounts more than the
             Canada;                                                Coverage E limit of liability. We need not apply
          or any of their successors; or                            for or furnish any bond;




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   3. Reasonable expenses incurred by an "insured"           D. Loss Assessment
      at our request, including actual loss of earnings          1. We will pay up to $1,000 for your share of loss
      (but not loss of other income) up to $250 per                 assessment charged against you, as owner or
      day, for assisting us in the investigation or                 tenant of the "residence premises", during the
      defense of a claim or suit; and                               policy period by a corporation or association of
   4. Interest on the entire judgment which accrues                 property owners, when the assessment is made
      after entry of the judgment and before we pay                 as a result of:
      or tender, or deposit in court that part of the               a. "Bodily injury" or "property damage" not
      judgment which does not exceed the limit of                      excluded from coverage under Section II -
      liability that applies.                                          Exclusions; or
B. First Aid Expenses                                               b. Liability for an act of a director, officer or
   We will pay expenses for first aid to others incurred               trustee in the capacity as a director, officer
   by an "insured" for "bodily injury" covered under                   or trustee, provided such person:
   this policy. We will not pay for first aid to an                   (1) Is elected by the members of a
   "insured".                                                             corporation or association of property
C. Damage To Property Of Others                                           owners; and
   1. We will pay, at replacement cost, up to $1,000                  (2) Serves without deriving any income from
      per "occurrence" for "property damage" to                           the exercise of duties which are solely on
      property of others caused by an "insured".                          behalf of a corporation or association of
   2. We will not pay for "property damage":                              property owners.

      a. To the extent of any amount recoverable                 2. Paragraph I. Policy Period under Section II -
         under Section I;                                           Conditions does not apply to this Loss
                                                                    Assessment Coverage.
      b. Caused intentionally by an "insured" who is
         13 years of age or older;                               3. Regardless of the number of assessments, the
                                                                    limit of $1,000 is the most we will pay for loss
      c. To property owned by an "insured";                         arising out of:
      d. To property owned by or rented to a tenant                 a. One accident, including continuous or
         of an "insured" or a resident in your                         repeated exposure to substantially the same
         household; or                                                 general harmful condition; or
      e. Arising out of:                                            b. A covered act of a director, officer or trustee.
         (1) A "business" engaged in by an "insured";                  An act involving more than one director,
                                                                       officer or trustee is considered to be a single
         (2) Any act or omission in connection with a
                                                                       act.
             premises owned, rented or controlled by
             an "insured", other than the "insured               4. We do not cover assessments charged against
             location"; or                                          you or a corporation or association of property
                                                                    owners by any governmental body.
         (3) The       ownership,         maintenance,
             occupancy, operation, use, loading or           SECTION II - CONDITIONS
             unloading      of  aircraft,    hovercraft,     A. Limit Of Liability
             watercraft or "motor vehicles".
                                                                Our total liability under Coverage E for all damages
             This Exclusion e.(3) does not apply to a           resulting from any one "occurrence" will not be
             "motor vehicle" that:                              more than the Coverage E Limit Of Liability shown
            (a) Is designed for recreational use off            in the Declarations. This limit is the same regardless
                public roads;                                   of the number of "insureds", claims made or
                                                                persons injured. All "bodily injury" and "property
            (b) Is not owned by an "insured"; and
                                                                damage" resulting from any one accident or from
            (c) At the time of the "occurrence", is not         continuous or repeated exposure to substantially
                required by law, or regulation issued           the same general harmful conditions shall be
                by a government agency, to have                 considered to be the result of one "occurrence".
                been registered for it to be used on
                public roads or property.




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   Our total liability under Coverage F for all medical       D. Duties Of An Injured Person - Coverage F -
   expense payable for "bodily injury" to one person             Medical Payments To Others
   as the result of one accident will not be more than            1. The injured person or someone acting for the
   the Coverage F Limit Of Liability shown in the                    injured person will:
   Declarations.
                                                                     a. Give us written proof of claim, under oath if
B. Severability Of Insurance                                            required, as soon as is practical; and
   This insurance applies separately to each "insured".              b. Authorize us to obtain copies of medical
   This condition will not increase our limit of liability              reports and records.
   for any one "occurrence".
                                                                  2. The injured person will submit to a physical
C. Duties After "Occurrence"                                         exam by a doctor of our choice when and as
   In case of an "occurrence", you or another "insured"              often as we reasonably require.
   will perform the following duties that apply. We           E. Payment Of Claim - Coverage F - Medical
   have no duty to provide coverage under this policy            Payments To Others
   if your failure to comply with the following duties is
   prejudicial to us. You will help us by seeing that            Payment under this coverage is not an admission
   these duties are performed:                                   of liability by an "insured" or us.

   1. Give written notice to us or our agent as soon          F. Suit Against Us
      as is practical, which sets forth:                          1. No action can be brought against us unless
      a. The identity of the policy and the "named                   there has been full compliance with all of the
         insured" shown in the Declarations;                         terms under this Section II.

      b. Reasonably available information on the                  2. No one will have the right to join us as a party to
         time, place and circumstances of the                        any action against an "insured".
         "occurrence"; and                                        3. Also, no action with respect to Coverage E can
      c. Names and addresses of any claimants and                    be brought against us until the obligation of
         witnesses;                                                  such "insured" has been determined by final
                                                                     judgment or agreement signed by us.
   2. Cooperate with us in the investigation,
      settlement or defense of any claim or suit;             G. Bankruptcy Of An "Insured"

   3. Promptly forward to us every notice, demand,               Bankruptcy or insolvency of an "insured" will not
      summons or other process relating to the                   relieve us of our obligations under this policy.
      "occurrence";                                           H. Other Insurance
   4. At our request, help us:                                   This insurance is excess over other valid and
      a. To make settlement;                                     collectible insurance except insurance written
                                                                 specifically to cover as excess over the limits of
      b. To enforce any right of contribution or                 liability that apply in this policy.
         indemnity    against any  person     or
         organization who may be liable to an                  I. Policy Period
         "insured";                                              This policy applies only to "bodily injury" or
      c. With the conduct of         suits   and   attend        "property damage" which occurs during the policy
         hearings and trials; and                                period.

      d. To secure and give evidence and obtain the           J. Concealment Or Fraud
         attendance of witnesses;                                We do not provide coverage to an "insured" who,
   5. With respect to C. Damage To Property Of                   whether before or after a loss, has:
      Others under Section II - Additional Coverages,             1. Intentionally concealed or misrepresented any
      submit to us within 60 days after the loss a                   material fact or circumstance;
      sworn statement of loss and show the damaged
                                                                  2. Engaged in fraudulent conduct; or
      property, if in an "insured's" control;
                                                                  3. Made false statements;
   6. No "insured" shall, except at such "insured's"
      own cost, voluntarily make payment, assume                 relating to this insurance.
      obligation or incur expense other than for first
      aid to others at the time of the "bodily injury".




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SECTIONS I AND II - CONDITIONS                                        (2) If the risk has changed substantially
A. Liberalization Clause                                                  since the policy was issued.

   If we make a change which broadens coverage                          This can be done by letting you know at
   under this edition of our policy without additional                  least 30 days before the date cancellation
   premium charge, that change will automatically                       takes effect.
   apply to your insurance as of the date we                        d. When this policy is written for a period of
   implement the change in your state, provided that                   more than one year, we may cancel for any
   this implementation date falls within 60 days prior                 reason at anniversary by letting you know at
   to or during the policy period stated in the                        least 30 days before the date cancellation
   Declarations.                                                       takes effect.
   This Liberalization Clause does not apply to                  3. When this policy is canceled, the premium for
   changes implemented with a general program                       the period from the date of cancellation to the
   revision that includes both broadenings and                      expiration date will be refunded pro rata.
   restrictions in coverage, whether that general                4. If the return premium is not refunded with the
   program     revision is  implemented   through                   notice of cancellation or when this policy is
   introduction of:                                                 returned to us, we will refund it within a
   1. A subsequent edition of this policy; or                       reasonable time after the date cancellation
   2. An amendatory endorsement.                                    takes effect.

B. Waiver Or Change Of Policy Provisions                     D. Nonrenewal

   A waiver or change of a provision of this policy             We may elect not to renew this policy. We may do
   must be in writing by us to be valid. Our request for        so by delivering to you, or mailing to you at your
   an appraisal or examination will not waive any of            mailing address shown in the Declarations, written
   our rights.                                                  notice at least 30 days before the expiration date of
                                                                this policy. Proof of mailing will be sufficient proof
C. Cancellation                                                 of notice.
   1. You may cancel this policy at any time by              E. Assignment
      returning it to us or by letting us know in writing
      of the date cancellation is to take effect.               Assignment of this policy will not be valid unless we
                                                                give our written consent.
   2. We may cancel this policy only for the reasons
      stated below by letting you know in writing of         F. Subrogation
      the date cancellation takes effect. This                  An "insured" may waive in writing before a loss all
      cancellation notice may be delivered to you, or           rights of recovery against any person. If not waived,
      mailed to you at your mailing address shown in            we may require an assignment of rights of recovery
      the Declarations. Proof of mailing will be                for a loss to the extent that payment is made by us.
      sufficient proof of notice.                               If an assignment is sought, an "insured" must sign
      a. When you have not paid the premium, we                 and deliver all related papers and cooperate with
         may cancel at any time by letting you know             us.
         at least 10 days before the date cancellation          Subrogation does not apply to Coverage F or
         takes effect.                                          Paragraph C. Damage To Property Of Others under
      b. When this policy has been in effect for less           Section II - Additional Coverages.
         than 60 days and is not a renewal with us,          G. Death
         we may cancel for any reason by letting you
         know at least 10 days before the date                  If any person named in the Declarations or the
         cancellation takes effect.                             spouse, if a resident of the same household, dies,
                                                                the following apply:
      c. When this policy has been in effect for 60
         days or more, or at any time if it is a renewal         1. We insure the legal representative of the
         with us, we may cancel:                                    deceased but only with respect to the premises
                                                                    and property of the deceased covered under
         (1) If   there     has been     a    material              the policy at the time of death; and
             misrepresentation of fact which if known
             to us would have caused us not to issue
             the policy; or




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   2. "Insured" includes:                                       b. With respect to your property, the person
      a. An "insured" who is a member of your                      having proper temporary custody of the
         household at the time of your death, but                  property until appointment and qualification
         only while a resident of the "residence                   of a legal representative.
         premises"; and




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POLICY NUMBER: WHO8002519                                                                              HOMEOWNERS
                                                                                                        HO 03 12 05 11

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       WINDSTORM OR HAIL PERCENTAGE DEDUCTIBLE
                                                      SCHEDULE


Windstorm Or Hail Deductible Percentage Amount: 5%


Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


SECTION I - CONDITIONS                                           The dollar amount of the windstorm or hail
B. Deductible                                                    deductible is determined by multiplying the
                                                                 Coverage A Limit Of Liability shown in the
  The following special deductible is added to the               Declarations by the deductible percentage amount
  policy:                                                        shown in the Schedule above.
  With respect to the peril of Windstorm Or Hail, for            No other deductible in the policy applies to loss
  any one loss, we will pay only that part of the total of       caused by windstorm or hail.
  all loss payable that exceeds the windstorm or hail
  percentage deductible.                                      All other provisions of this policy apply.




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POLICY NUMBER: WHO8002519                                                                                HOMEOWNERS
                                                                                                          HO 04 27 05 11

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          LIMITED FUNGI, WET OR DRY ROT, OR BACTERIA
                           COVERAGE
                                                        SCHEDULE


These limits of liability apply to the total of all loss or costs payable under this endorsement, regardless of the
number of "occurrences", the number of claims made, or the number of locations insured under this endorsement
and listed in this Schedule.

1.    Section I - Property Coverage Limit Of Liability for the Additional Coverage "Fungi",         $10,000
      Wet Or Dry Rot, Or Bacteria
2.    Section II - Coverage E Aggregate Sublimit of Liability for "Fungi", Wet Or Dry Rot, Or $50,000
      Bacteria
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




DEFINITIONS                                                                (4) The cost of testing of air or property to
The following definition is added:                                             confirm the absence, presence or level of
                                                                               "fungi", wet or dry rot, or bacteria whether
     "Fungi"                                                                   performed prior to, during or after
        a. "Fungi" means any type or form of fungus,                           removal,      repair,      restoration    or
           including mold or mildew, and any                                   replacement. The cost of such testing will
           mycotoxins, spores, scents or by-products                           be provided only to the extent that there
           produced or released by fungi.                                      is a reason to believe that there is the
                                                                               presence of "fungi", wet or dry rot, or
        b. Under Section II, this does not include any
                                                                               bacteria.
           fungi that are, are on, or are contained in, a
           good or product intended for consumption.                    b. The coverage described in 13.a. only applies
                                                                           when such loss or costs are a result of a Peril
SECTION I - PROPERTY COVERAGES
                                                                           Insured Against that occurs during the policy
E. Additional Coverages                                                    period and only if all reasonable means were
     Paragraph 10.k.(2)(d) is deleted in Form HO 00 05                     used to save and preserve the property from
     only.                                                                 further damage at and after the time the Peril
                                                                           Insured Against occurred.
     The following Additional Coverage is added:
                                                                        c. The amount shown in the Schedule for this
  13. "Fungi", Wet Or Dry Rot, Or Bacteria
                                                                           coverage is the most we will pay for the total
        a. The amount shown in the Schedule above is                       of all loss or costs payable under this
           the most we will pay for:                                       Additional Coverage regardless of the:
           (1) The total of all loss payable under                         (1) Number of locations insured under this
               Section I - Property Coverages caused                           endorsement; or
               by "fungi", wet or dry rot, or bacteria;
                                                                           (2) Number of claims made.
           (2) The cost to remove "fungi", wet or dry rot,
                                                                        d. If there is covered loss or damage to
               or bacteria from property covered under
                                                                           covered property, not caused, in whole or in
               Section I - Property Coverages;
                                                                           part, by "fungi", wet or dry rot, or bacteria,
           (3) The cost to tear out and replace any part                   loss payment will not be limited by the terms
               of the building or other covered property                   of this Additional Coverage, except to the
               as needed to gain access to the "fungi",                    extent that "fungi", wet or dry rot, or bacteria
               wet or dry rot, or bacteria; and                            causes an increase in the loss. Any such
                                                                           increase in the loss will be subject to the
                                                                           terms of this Additional Coverage.




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      This coverage does not increase the limit of               Paragraph 2.e.(3) is replaced by the following:
      liability applying to the damaged covered                        (3) Smog, rust or other corrosion;
      property.
                                                             SECTION I - EXCLUSIONS
SECTION I - PERILS INSURED AGAINST
                                                             Exclusion A.10. is added:
In Form HO 00 03:
                                                                10. "Fungi", Wet Or Dry Rot, Or Bacteria
A. Coverage A - Dwelling And Coverage B - Other
   Structures                                                       "Fungi", Wet Or Dry Rot, Or Bacteria meaning
                                                                    the presence, growth, proliferation, spread or
   Paragraph 2.c.(5) is replaced by the following:                  any activity of "fungi", wet or dry rot, or bacteria.
         (5) Caused by constant or repeated seepage                 This exclusion does not apply:
             or leakage of water or the presence or
             condensation of humidity, moisture or                  a. When "fungi", wet or dry rot, or bacteria
             vapor, over a period of weeks, months or                  results from fire or lightning; or
             years unless such seepage or leakage of                b. To the extent coverage is provided for in the
             water or the presence or condensation of                  "Fungi", Wet Or Dry Rot, Or Bacteria
             humidity, moisture or vapor and the                       Additional Coverage under Section I -
             resulting damage is unknown to all                        Property Coverages with respect to loss
             "insureds" and is hidden within the walls                 caused by a Peril Insured Against other than
             or ceilings or beneath the floors or above                fire or lightning.
             the ceilings of a structure.
                                                                    Direct loss by a Peril Insured Against resulting
   Paragraph 2.c.(6)(c) is replaced by the following:               from "fungi", wet or dry rot, or bacteria is
              (c) Smog, rust or other corrosion;                    covered.

B. Coverage C - Personal Property                            SECTION I - CONDITIONS

  12. Accidental Discharge Or Overflow Of Water              Condition    Q.   Policy   Period is   replaced    by   the
      Or Steam                                               following:

      Paragraph b.(4) is replaced by the following:          Q. Policy Period

         (4) Caused by constant or repeated seepage              This policy applies to loss or costs which occur
             or leakage of water or the presence or              during the policy period.
             condensation of humidity, moisture or           SECTION II - CONDITIONS
             vapor, over a period of weeks, months or
                                                             Condition A. Limit Of Liability is replaced by the
             years unless such seepage or leakage of
                                                             following:
             water or the presence or condensation of
             humidity, moisture or vapor and the             A. Limit Of Liability
             resulting damage is unknown to all                  Our total liability under Coverage E for all damages
             "insureds" and is hidden within the walls           resulting from any one "occurrence" will not be
             or ceilings or beneath the floors or above          more than the Coverage E Limit Of Liability shown
             the ceilings of a structure.                        in the Declarations. This limit is the same regardless
In Form HO 00 05:                                                of the number of "insureds", claims made or
                                                                 persons injured. All "bodily injury" and "property
A. Under Coverages A, B and C:
                                                                 damage" resulting from any one accident or from
   Paragraph 2.d. is replaced by the following:                  continuous or repeated exposure to substantially
      d. Caused by constant or repeated seepage or               the same general harmful conditions will be
         leakage of water or the presence or                     considered to be the result of one "occurrence".
         condensation of humidity, moisture or vapor,            Our total liability under Coverage F for all medical
         over a period of weeks, months or years                 expense payable for "bodily injury" to one person as
         unless such seepage or leakage of water or              the result of one accident will not be more than the
         the presence or condensation of humidity,               Coverage F Limit Of Liability shown in the
         moisture or vapor and the resulting damage              Declarations.
         is unknown to all "insureds" and is hidden
         within the walls or ceilings or beneath the
         floors or above the ceilings of a structure.




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  However, our total liability under Coverage E for the          This sublimit is within, but does not increase, the
  total of all damages arising directly or indirectly, in        Coverage E limit of liability. It applies separately to
  whole or in part, out of the actual, alleged or                each consecutive annual period and to any
  threatened inhalation of, ingestion of, contact with,          remaining period of less than 12 months, starting
  exposure to, existence of, or presence of any                  with the beginning of the policy period shown in the
  "fungi", wet or dry rot, or bacteria will not be more          Declarations.
  than the Section II - Coverage E Aggregate Sublimit        With respect to damages arising out of "fungi", wet or
  of Liability for "Fungi", Wet Or Dry Rot, Or Bacteria.     dry rot, or bacteria described in Condition A. Limit Of
  That sublimit is the amount shown in the Schedule.         Liability of this endorsement, Condition B. Severability
  This is the most we will pay regardless of the:            Of Insurance is replaced by the following:
   1. Number of locations insured under the policy to        B. Severability Of Insurance
      which this endorsement is attached;
                                                                 This insurance applies separately to each "insured"
   2. Number of persons injured;                                 except with respect to the Aggregate Sublimit of
   3. Number of       persons    whose     property    is        Liability described in this endorsement under
      damaged;                                                   Section II - Conditions, A. Limit Of Liability. This
   4. Number of "insureds"; or                                   condition will not increase the limit of liability for this
                                                                 coverage.
   5. Number of "occurrences" or claims made.
                                                             All other provisions of the policy apply.




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POLICY NUMBER: WHO8002519                                                                                HOMEOWNERS
                                                                                                          HO 04 95 01 14

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 LIMITED WATER BACK-UP AND
           SUMP DISCHARGE OR OVERFLOW COVERAGE
                                                       SCHEDULE


 Limited Water Back-up And Sump Discharge Or Overflow Coverage Limit Of
 Liability:                                                                                 $ 10,000

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.



A. Section I - Property Coverages                               C. Section I - Exclusions
   E. Additional Coverages                                         With respect to the coverage provided under this
      The following coverage is added:                             endorsement:

      Limited Water Back-up And Sump Discharge                      1. The Water       Exclusion   is   replaced   by   the
      Or Overflow Coverage                                             following:

      We will pay up to the Limit Of Liability shown in                Water
      the Schedule for direct physical loss, not caused                This means water which backs up through
      by the negligence of an "insured", to property                   sewers or drains, or overflows or is discharged
      covered under Section I caused by water, or                      from a sump, sump pump or related equipment,
      waterborne material, which:                                      as a direct or indirect result of:
      1. Originates from within the dwelling where                     a. Flood, surface water, waves, including tidal
         you reside and backs up through sewers or                        wave and tsunami, tides, tidal water,
         drains; or                                                       overflow of any body of water, or spray from
      2. Overflows or is discharged from a:                               any of these, all whether or not driven by
                                                                          wind, including storm surge;
          a. Sump, sump pump; or
                                                                       b. Water below the surface of the ground,
          b. Related equipment;                                           including water which exerts pressure on, or
          even if such overflow or discharge results                      seeps, leaks or flows through a building,
          from mechanical breakdown or power                              sidewalk,   driveway,   patio,   foundation,
          failure. This coverage does not apply to                        swimming pool or other structure; or
          direct physical loss of the sump pump, or                    c. Waterborne material carried or otherwise
          related equipment, which is caused by                           moved by any of the water referred to in
          mechanical breakdown or power failure.                          Paragraphs C.1.a. and C.1.b. of this
      This coverage does not increase the limits of                       exclusion.
      liability for Coverage A, B, C or D stated in the                This exclusion applies regardless of whether any
      Declarations.                                                    of the above, in Paragraphs C.1.a. through
B. Section I - Perils Insured Against                                  C.1.c., is caused by an act of nature or is
                                                                       otherwise caused.
   With respect to the coverage provided under this
   endorsement, Paragraphs:                                            This exclusion applies to, but is not limited to,
                                                                       escape, overflow or discharge, for any reason,
   A.2.c.(6)(b) in Form HO 00 03;
                                                                       of water or waterborne material from a dam,
   A.2.e.(2) in Form HO 00 05;                                         levee, seawall or any other boundary or
   2.j.(2) in Endorsement HO 05 24;                                    containment system.

   3.j.(2) in Endorsement HO 17 31; and                                However, direct loss by fire, explosion or theft
                                                                       resulting from any of the above, in Paragraphs
   2.c.(6)(b) in Endorsement HO 17 32;
                                                                       C.1.a. through C.1.c., is covered.
   are replaced by the following:
                                                                    2. The Power Failure Exclusion does not apply.
   Latent defect, inherent vice or any quality in
                                                                All other provisions of this policy apply.
   property that causes it to damage or destroy itself;



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                                                                                                   Homeowners
                                                                                                      WH 03 03

                                                                      This Endorsement Modifies Your Policy.
                                                                                   Please Read It Carefully.



                                        DEDUCTIBLE(S) FORM


This endorsement modifies insurance provided under the following:

                                                   SCHEDULE *
The Deductibles applicable to any one occurrence are shown below:

                         Coverage**                    Deductible               Peril***
                        A      B    C     D            $2,500                      2




*   Information required to complete this Schedule, if not shown on this endorsement, will be
    shown in the Declarations.
** For each deductible listed in this Schedule, the letter or letters entered indicate the Section I
   Coverage to which that Deductible applies (A,B,C,D, or any combination thereof).
***For each deductible listed in this Schedule, the number entered, if any, corresponds to the
   Peril or Perils Insured Against to which that deductible applies:
    (1) All Section I Perils Insured Against;
    (2) All Section I Perils Insured Against other than Windstorm or Hail, Named Storm, or
        Hurricane, whichever applies;
    (3) Accidental Discharge Or Overflow Of Water Or Steam from within a plumbing, heating, air
        conditioning or automatic fire protective sprinkler system or from within a household
        appliance;
    (4) Freezing;
    (5) Theft;
    (6) Vandalism and Malicious Mischief;
    (7) Weight of Ice, Snow or Sleet; or
    (8) All Section I Perils Insured Against other than Windstorm or Hail, Named Storm, or
        Hurricane, whichever applies, but not including any peril numbered (3), (4), (5), (6) or (7)
        for which a separate deductible is shown in this Schedule.




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SECTION I - CONDITIONS, B. Deductible is deleted and replaced by the following:
B. Deductible
    Unless otherwise noted in this policy, the following deductible provision applies:
    With respect to any one loss:
    1. Subject to the applicable limit of liability, we will pay only that part of the total of all loss
       payable that exceeds the applicable deductible amount shown in the above Schedule.
    2. Except for Windstorm or Hail, Named Storm, or Hurricane deductibles, if two or more
       other deductibles under this policy apply to the loss, only the highest deductible amount
       will apply. If a Windstorm or Hail, Named Storm or Hurricane deductible also applies, it
       applies in addition to this highest deductible of two or more other deductibles.
All other provisions of this policy apply.




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                                                                                                Homeowners
                                                                                                   WH 04 01

                                                                  This Endorsement Modifies Your Policy.
                                                                               Please Read It Carefully.


                           COVERAGE B AMENDATORY ENDORSEMENT



  SECTION I - PROPERTY COVERAGES - B. Coverage B - Other Structures, paragraph 3. is amended to
  read as follows:

   3. The limit of liability for this coverage will not be more than the percentage of the limit of liability that
      applies to Coverage A as shown in the Declarations of this policy. Use of this coverage does not reduce
      the Coverage A limit of liability.

  All other provisions of this policy apply.




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                                                                                      Homeowners
                                                                                         WH 04 10

                                                             This Endorsement Modifies Your Policy.
                                                                          Please Read It Carefully.



                        OUTDOOR PROPERTY EXCLUSION -
                             WINDSTORM OR HAIL


  SECTION I - EXCLUSIONS is amended to add the following:
  Windstorm or Hail
  Windstorm or Hail loss to:
   a. Outdoor radio and television antennas or satellite dishes and aerials including their
      lead wiring, masts or towers; or
   b. Awnings, aluminum framed screened enclosures or aluminum, framed carports; or
   c. Solar water heating systems including solar panels, pipes supplying or returning water
      to solar panels, and equipment or devices controlling solar water heating systems;
   d. Unattached:
     (1) Sheds;
     (2) Permanently installed outdoor equipment;
     (3) Fences;
     (4) Fabric windscreens on fences;
     (5) Slat Houses;
     (6) Chickees;
     (7) Tiki Huts;
     (8) Gazebos;
     (9) Pergolas; and
     (10) Structures where the exterior roof or exterior wall coverings are of thatch, lattice
          or slats and similar material.
  All other provisions of this policy apply.




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                                                                                                 WH 04 12

                                                                This Endorsement Modifies Your Policy.
                                                                             Please Read It Carefully.



        TEMPORARY AND EMERGENCY MEASURES ENDORSEMENT

Under SECTION I - PROPERTY                                      c. This coverage does not:
COVERAGES,
E. Additional Coverages is amended as                                (1) Increase the Limit of Liability that
follows:                                                                 applies to the covered property;

Additional Coverage 2. Reasonable Repairs                            (2) Relieve you of your duties, in case
is deleted and replaced by the following:                                of a loss to covered property, as
                                                                         set forth in SECTION I -
2. Temporary And Emergency Measures                                      CONDITION B.; or

   a. We will pay up to $5,000 for the                               (3) Pay for property not covered, or
      reasonable costs incurred by you for                               for temporary or permanent
      necessary and temporary measures                                   repairs resulting from a peril not
      taken solely to protect covered                                    covered, or for loss excluded by
      property from further damage, when                                 this policy.
      the damage or loss is caused by a
      Peril Insured Against and the damage                  This additional coverage does not prohibit
      or loss occurs during the policy                      us from exercising our right to repair
      period.                                               damaged property in compliance with this
                                                            Policy.
   b. We will not pay more than the amount
      in a. above, unless we provide you                    All other provisions of this policy apply.
      written approval to exceed the limit,
      but only up to the additional amount
      for the services we authorize.
      However, if Windstorm or Hail is
      covered under your policy, and a
      covered loss occurs during a named
      storm or hurricane, the amount we
      pay under this additional coverage is
      not limited to the amount in a. above.




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                                                                                                      Homeowners
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                                                                       This Endorsement Modifies Your Policy.
                                                                                    Please Read It Carefully.



                        POLICY MINIMUM PREMIUM ENDORSEMENT


SECTIONS I and II - CONDITIONS


C. Cancellation

    Subparagraph 3. of Paragraph C. Cancellation is deleted and replaced with:

    3.   When this policy is cancelled by us, the premium for the period from the date of cancellation to the
         expiration date will be refunded pro rata. When this policy is cancelled by you for policies in effect for more
         than 90 days, the premium for the period from the date of cancellation to the expiration date will be 90% of
         the pro rata refund. However, if you cancel the policy effective any time during the first 90 days, the
         maximum premium refunded will be 75% of the annual policy premium.

         Each of the perils insured under Section I - Property Coverages is a mandatory coverage in the policy and
         cannot be cancelled without cancelling the entire policy.

All other provisions of this policy apply.




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                                                                 This Endorsement Modifies Your Policy.
                                                                              Please Read It Carefully.



                             WORK FROM HOME COVERAGE


SECTION I - PROPERTY COVERAGES
COVERAGE B - OTHER STRUCTURES
The following replaces item 2. c. :
We do not cover:
c. Other structures used in whole or in part for "business" purposes unless such use consists
   solely of use of office space for paperwork, computer work or use of a telephone, and
   consists solely of activities that are:
   1. Duties of the "insured's" employment by another; and
   2. Performed solely by the "insured".

SECTION II - LIABILITY COVERAGES
SECTION II - EXCLUSIONS
The following modifies Paragraph E. of SECTION II - EXCLUSIONS, Exclusion 2. "Business",
Subparagraph b. with the addition of subparagraph (3) :
This Exclusion E. 2 does not apply to:
(3) "Business" activities performed by an "insured" if the "business" activities are:
   (a) Only using computer devices, telephone and desk; and
   (b) Activities that are duties of the "insured's" employment by another; and
   (c) Performed solely by the "insured" on the "residence premises".

All other provisions of this policy apply.




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                                                                 This Endorsement Modifies Your Policy.
                                                                              Please Read It Carefully.



          ADDITIONAL INSURED - STUDENT LIVING AWAY FROM THE
                         RESIDENCE PREMISES


DEFINITIONS
Definition 5., which defines "insured", is extended to include a full-time student living away from
the "residence premises", but only if that person:
       1. Was a resident of your household before moving out to attend school; is under the
          age of 26; and is your relative; or
       2. Is not your relative; is under 21; and is in your care or the care of a relative who is a
          resident of your household.

SECTIONS I AND II - CONDITIONS
The coverage provided to the student only applies while that person is enrolled in school.
All other provisions of this policy apply.




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                            PRIVACY NOTICE


  NEITHER THE BROKER NOR AGENT THAT HANDLED THIS
  INSURANCE NOR THE INSURER THAT HAS UNDERWRITTEN
  THIS INSURANCE WILL DISCLOSE NONPUBLIC PERSONAL
  INFORMATION     CONCERNING     THE   BUYER   TO
  NONAFFILIATES OF THE BROKER OR AGENT OR THE
  INSURER, EXCEPT AS PERMITTED BY LAW.




                                                                   WH 12 02 (08/16)


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                                 SERVICE OF SUIT


  The Company appoints the Commissioner of Insurance as its true and lawful attorney for
  acceptance of service of all legal process issued in this state in any action, suit or
  proceeding arising out of this contract of insurance. The Company authorizes the
  Commissioner to forward such process to:

  In California:   Richard Glucksman, Chapman Glucksman, 11900 West Olympic
                   Boulevard, Suite 800, Los Angeles, CA 90064

  All Other States: Western World Insurance Group, Claims Department, 300 Kimball Drive,
                    Suite 500, Parsippany, NJ 07054

  The above-named are authorized to accept service of process on behalf of the Company
  in any legal proceeding in the applicable state(s).




                                                                           WH 12 03 (07/16)


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                                                                                      WH 24 01

                                                        This Endorsement Modifies Your Policy.
                                                                     Please Read It Carefully.



                     DANGEROUS ANIMAL (INCLUDING CANINE)
                       LIABILITY EXCLUSION ENDORSEMENT


A. DEFINITIONS
   Paragraph B. is amended to include the following definition:
   "Dangerous animal" means an animal that has the ability to cause bodily harm to a human
   adult or child and includes but is not limited to: canine, horse, lion, tiger, ocelot, bear,
   constricting snake, poisonous snake and poisonous insect; however, "dangerous animal"
   does not include the following: bird, fish, domestic cat, skunk, ferret, raccoon and farm
   animals kept for non-commercial use.
B. SECTION II - EXCLUSIONS
   Coverage E - Personal Liability and Coverage F - Medical Payments To Others
   The following exclusion is added:
   Coverages E and F do not apply to the following:
   Dangerous Animal (including canine)
   "Bodily injury" or "property damage" arising out of direct physical contact with any
   "dangerous animal":
       1. Owned by an "insured";
       2. In the care, custody, or control of an "insured" or
       3. In the care, custody, or control of any other person while renting an "insured location"
          or a guest at an "insured location".
All other provisions of this policy apply.




                                                                                    WH 24 01 (10/16)


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                                                        This Endorsement Modifies Your Policy.
                                                                     Please Read It Carefully.



                     TRAMPOLINE EXCLUSION ENDORSEMENT


SECTION II - EXCLUSIONS

E. Coverage E - Personal Liability and Coverage F - Medical Payments To Others
   The following exclusion is added:
   Coverages E and F do not apply to the following:
   Trampoline
   "Bodily injury" or "property damage" arising out of the:
      1. Ownership of a trampoline by any insured;
      2. Maintenance or use of the trampoline; or
      3.   Failure to supervise or negligent supervision of any person involving the trampoline by
           an "insured".
All other provisions of this policy apply.




                                                                                    WH 24 03 (01/16)


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                                                                                           Homeowners
                                                                                              WH 24 04

                                                                 This Endorsement Modifies Your Policy.
                                                                              Please Read It Carefully.



      MODEL, HOBBY OR REMOTELY PILOTED UNMANNED AIRCRAFT
                    EXCLUSION ENDORSEMENT


A. DEFINITIONS
   Paragraph B. Subparagraph 1. b. (1) of the Homeowners 3 - Special Form DEFINITIONS
   section is amended to read:
   (1) Aircraft means any contrivance used or designed for flight, including remotely piloted
       unmanned aircraft and model or hobby aircraft.
B. PERSONAL INJURY COVERAGE EXCLUSION
   The following exclusion is added to Section II - Exclusions of the Personal Injury Coverage
   form, HO 24 10, if Personal Injury Coverage is provided by this policy:
   This insurance does not apply to any "personal injury" arising out of the:
   (1) Ownership of an aircraft, as defined in Paragraph A. above by an "insured";
   (2) Maintenance, operation, or use of that aircraft;
   (3) Entrustment of such aircraft by an "insured" to any person;
   (4) Failure to supervise or negligent supervision of any person involving such aircraft by an
       "insured"; or
   (5) Vicarious liability, whether or not imposed by law, for the actions of a child or minor
       involving such aircraft.
All other provisions of this policy apply.




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                                                                 This Endorsement Modifies Your Policy.
                                                                              Please Read It Carefully.



                LIMIT OF LIABILITY AMENDATORY ENDORSEMENT
                   (FIREARMS AGGREGATE LIMIT OF LIABILITY)


                                                SCHEDULE
Firearms Aggregate Limit Of Liability - Coverage E                         $ 100,000
SECTION II - CONDITIONS
A. Limit of Liability
   Paragraph A. Limit of Liability is deleted and replaced by the following:
   Our total liability under Coverage E for all damages resulting from any one "occurrence" will
   not be more than the Coverage E Limit of Liability shown in the Declarations. This limit is the
   same regardless of the number of "insureds", claims made or persons injured. All "bodily
   injury" and "property damage" resulting from any one accident or from continuous or
   repeated exposure to substantially the same general harmful conditions shall be considered
   to be the result of one "occurrence".
   The most we will pay for the total of all damages under Coverage E for one or more
   "occurrences" arising out of the:
       (1) Ownership of firearm(s) by an "insured";
       (2) Maintenance or use of any firearm;
       (3) Entrustment of such firearm(s) by an "insured" to any person;
       (4) Failure to supervise or negligent supervision of any person involving such firearm(s)
           by an "insured"; or
       (5) Vicarious liability, whether or not imposed by law, for the actions of a child or minor
           involving such firearm(s)
   is the Aggregate Limit shown above.
All other provisions of this policy apply.




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                                                                                 Homeowners
                                                                                    WH 24 06

                                                        This Endorsement Modifies Your Policy.
                                                                     Please Read It Carefully.



      SKATEBOARD OR BICYCLE RAMPS EXCLUSION ENDORSEMENT


SECTION II - EXCLUSIONS
E. Coverage E - Personal Liability and Coverage F - Medical Payments To Others
   The following exclusion is added:
   Coverages E and F do not apply to the following:
   Skateboard or Bicycle Ramps
   "Bodily injury" or "property damage" arising out of the:
        1. Ownership of a skateboard ramp or bicycle ramp by any "insured";
        2. Maintenance, operation or use of the skateboard ramp or bicycle ramp; or
        3. Failure to supervise or negligent supervision of any person involving the skateboard
           ramp or bicycle ramp by an "insured".
All other provisions of this policy apply.




                                                                                 WH 24 06 (01/16)


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                                                                                  Homeowners
                                                                                     WH 24 07

                                                        This Endorsement Modifies Your Policy.
                                                                     Please Read It Carefully.



           SWIMMING POOL/HOT TUB EXCLUSION ENDORSEMENT


SECTION II - EXCLUSIONS
E. Coverage E - Personal Liability and Coverage F - Medical Payments To Others
   The following exclusion is added:
   Coverages E and F do not apply to the following:
   Swimming Pool/Hot Tub
   "Bodily injury" or "property damage" arising out of the:
       1. Ownership of a swimming pool, diving board, pool slide, or hot tub by any "insured";
       2. Maintenance, operation or use of the swimming pool, diving board, pool slide or hot
          tub; or
       3. Failure to supervise or negligent supervision by an insured of a hot tub or the
          swimming pool area, including diving board or pool slide.
All other provisions of this policy apply.




                                                                                   WH 24 07 (01/16)


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                                                                                   Homeowners
                                                                                      WH 24 09

                                                        This Endorsement Modifies Your Policy.
                                                                     Please Read It Carefully.



       LEAD CONTAMINATION LIABILITY EXCLUSION ENDORSEMENT


SECTION II - EXCLUSIONS
E. Coverage E - Personal Liability and Coverage F - Medical Payments To Others
   The following exclusion is added:
   Coverages E and F do not apply to the following:
   Lead Contamination
   "Bodily injury" or "property damage" arising out of the:
       1. Existence of lead on the "residence premises";
       2. Ingestion, inhalation or absorption of lead in any form; or
       3. Any loss, cost or expense arising out of any request, demand or order that any
          insured or others test for, monitor, cleanup, remove, contain, treat, detoxify or in any
          way respond to, or assess the effects of lead.
All other provisions of this policy apply.




                                                                                    WH 24 09 (01/16)


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                                                                                                      HOMEOWNERS
                                                                                                       HO 01 09 09 15


       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           SPECIAL PROVISIONS - FLORIDA

DEFINITIONS                                                       "Catastrophic ground cover collapse" coverage
The following definitions are added:                              does not apply to Coverage B structures.

   "Fungi"                                                        "Principal Building"

       a. "Fungi" means any type or form of fungus,               In Forms HO 00 02, HO 00 03, HO 00 04 and HO
          including mold or mildew, and any                       00 05:
          mycotoxins, spores, scents or by-products               "Principal building" means the dwelling where you
          produced or released by fungi.                          reside on the "residence premises" shown in the
      b. Under Section II, this does not include any              Declarations, including structures attached to the
         fungi that are in, are on, or are contained in a         dwelling. "Principal building" does not include any
         good or product intended for consumption.                other buildings or structures at that location.

   "Hurricane Occurrence"                                         In Form HO 00 06:

   A "hurricane occurrence" means a storm system                  "Principal building" means the unit where you reside
   that has been declared to be a hurricane by the                shown as the "residence premises" in the
   National Hurricane Center of the National Weather              Declarations. "Principal building" does not include
   Service, with a duration that:                                 any other buildings or structures at that location.

       a. Begins at the time a hurricane watch or                 "Structural Damage"
          hurricane warning is issued for any part of             "Structural damage" means a "principal building",
          Florida by the National Hurricane Center of             regardless of the date of its construction, has
          the National Weather Service;                           experienced the following:
      b. Continues for the time period during which                   a. Interior floor displacement or deflection in
         the hurricane conditions exist anywhere in                      excess of acceptable variances as defined in
         Florida; and                                                    ACI 117-90 or the Florida Building Code,
       c. Ends 72 hours following the termination of                     which results in settlement-related damage
          the last hurricane watch or hurricane                          to the interior such that the interior building
          warning issued for any part of Florida by the                  structure or members become unfit for
          National Hurricane Center of the National                      service or represent a safety hazard as
          Weather Service.                                               defined within the Florida Building Code;

   "Catastrophic Ground Cover Collapse"                               b. Foundation displacement or deflection in
                                                                         excess of acceptable variances as defined in
   "Catastrophic ground cover collapse" means                            ACI 318-95 or the Florida Building Code,
   geological activity that results in all of the following:             which results in settlement-related damage
       a. The abrupt collapse of the ground cover;                       to the "primary structural members" or
                                                                         "primary structural systems" that prevents
      b. A depression in the ground cover clearly
                                                                         those members or systems from supporting
         visible to the naked eye;
                                                                         the loads and forces they were designed to
       c. "Structural damage" of the           "principal                support to the extent that stresses in those
          building" insured under this Policy, including                 "primary structural members" or "primary
          the foundation; and                                            structural    systems"    exceed    one    and
      d. The "principal building" being condemned                        one-third the nominal strength allowed under
         and ordered to be vacated by the                                the Florida Building Code for new buildings
         governmental agency authorized by law to                        of similar structure, purpose or location;
         issue such an order for that "principal
         building".




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      c. Damage that results in listing, leaning or                   (4) The cost of testing of air or property to
         buckling of the exterior load-bearing walls or                   confirm the absence, presence or level of
         other vertical "primary structural members"                      "fungi", wet or dry rot, or bacteria,
         to such an extent that a plumb line passing                      whether performed prior to, during or
         through the center of gravity does not fall                      after removal, repair, restoration or
         inside the middle one-third of the base as                       replacement. The cost of such testing will
         defined within the Florida Building Code;                        be provided only to the extent that there
      d. Damage that results in the building, or any                      is a reason to believe that there is the
         portion of the building containing "primary                      presence of "fungi", wet or dry rot, or
         structural members" or "primary structural                       bacteria.
         systems", being significantly likely to                    b. The coverage described in a. only applies
         imminently    collapse    because     of  the                 when such loss or costs are a result of a Peril
         movement or instability of the ground within                  Insured Against that occurs during the policy
         the influence zone of the supporting ground                   period and only if all reasonable means were
         within the sheer plane necessary for the                      used to save and preserve the property from
         purpose of supporting such building as                        further damage at and after the time the Peril
         defined within the Florida Building Code; or                  Insured Against occurred.
      e. Damage occurring on or after October 15,                   c. $10,000 is the most we will pay for the total
         2005, that qualifies as "substantial structural               of all loss or costs payable under this
         damage" as defined in the Florida Building                    Additional Coverage regardless of the:
         Code.                                                        (1) Number of locations insured; or
   "Primary Structural Member"                                        (2) Number of claims made.
   "Primary structural member" means a structural                   d. If there is covered loss or damage to
   element designed to provide support and stability                   covered property not caused, in whole or in
   for the vertical or lateral loads of the overall                    part, by "fungi", wet or dry rot, or bacteria,
   structure.                                                          loss payment will not be limited by the terms
   "Primary Structural System"                                         of this Additional Coverage, except to the
   "Primary structural system" means an assemblage                     extent that "fungi", wet or dry rot, or bacteria
   of "primary structural members".                                    cause an increase in the loss. Any such
                                                                       increase in the loss will be subject to the
SECTION I - PROPERTY COVERAGES                                         terms of this Additional Coverage.
Paragraph E.10.k.(2)(d) is deleted in Form HO 00 05                This coverage does not increase the limit of
only.                                                              liability applying to the damaged covered
E. Additional Coverages                                            property.
   The following Additional Coverage is added:               In Form HO 00 06:
   "Fungi", Wet Or Dry Rot, Or Bacteria                      Paragraph D.7.a. is replaced by the following:
      a. We will pay up to $10,000 for:                      D. Additional Coverages
         (1) The total of all loss payable under                7. Loss Assessment
             Section I - Property Coverages caused                  a. We will pay up to $2,000 per occurrence for
             by "fungi", wet or dry rot, or bacteria;                  your share of loss assessment charged
         (2) The cost to remove "fungi", wet or dry rot,               during the policy period against you, as
             or bacteria from property covered under                   owner or tenant of the "residence premises",
             Section I - Property Coverages;                           by a corporation or association of property
                                                                       owners. The assessment must be made as a
         (3) The cost to tear out and replace any part
                                                                       result of direct loss to property, owned by all
             of the building or other covered property
                                                                       members collectively, of the type that would
             as needed to gain access to the "fungi",
                                                                       be covered by this Policy if owned by you,
             wet or dry rot, or bacteria; and
                                                                       caused by a Peril Insured Against under
                                                                       Coverage A, other than:
                                                                      (1) Earthquake; or




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        (2) Land shock waves or tremors before,             In Form HO 00 03:
            during or after a volcanic eruption.            A. Coverage A - Dwelling And Coverage B - Other
         However, the maximum amount of loss                   Structures
         assessment coverage for any one property              Paragraph 2.c.(5) is replaced by the following:
         loss,    regardless   of   the   number     of
         assessments, shall be an amount equal to                    (5) Constant or repeated seepage or leakage
         your unit-owner's loss assessment coverage                      of water or the presence or condensation
         limit in effect one day before the date of the                  of humidity, moisture or vapor, over a
         occurrence. Any changes to the limits of                        period of weeks, months or years, unless
         your     unit-owner's   coverage    for   loss                  such seepage or leakage of water or the
         assessments made on or after the day                            presence or condensation of humidity,
         before the date of the occurrence are not                       moisture or vapor and the resulting
         applicable to such loss.                                        damage is unknown to all "insureds" and
                                                                         is hidden within the walls or ceilings or
         A deductible amount, not to exceed the                          beneath the floors or above the ceilings
         lesser of:                                                      of a structure.
        (3) The deductible amount under this Policy            Paragraph 2.c.(6)(c) is replaced by the following:
            equal to that which applies to the peril of
            fire; or                                                     (c) Smog, rust or other corrosion;

        (4) $250;                                           B. Coverage C - Personal Property

         applies to loss covered under this Additional        12. Accidental Discharge Or Overflow Of Water
         Coverage. We will pay only that part of the              Or Steam
         total of all loss payable under this Additional          Paragraph b.(4) is replaced by the following:
         Coverage that exceeds that deductible
                                                                     (4) Caused by constant or repeated seepage
         amount. However, if a deductible was or will
                                                                         or leakage of water or the presence or
         be applied to other property loss sustained
                                                                         condensation of humidity, moisture or
         by you resulting from the same direct loss,
                                                                         vapor, over a period of weeks, months or
         then no deductible applies to this coverage.
                                                                         years, unless such seepage or leakage of
SECTION I - PERILS INSURED AGAINST                                       water or the presence or condensation of
In Forms HO 00 02, HO 00 04 and HO 00 06:                                humidity, moisture or vapor and the
                                                                         resulting damage is unknown to all
12.Accidental Discharge Or Overflow Of Water Or                          "insureds" and is hidden within the walls
   Steam                                                                 or ceilings or beneath the floors or above
   Paragraph b.(5) in Forms HO 00 02 and HO 00 06                        the ceilings of a structure.
   (b.(4) in Form HO 00 04) is replaced by the                 For Coverage C, the following peril is added:
   following:
                                                              17. "Catastrophic Ground Cover Collapse"
     (5) To a building caused by constant or
         repeated seepage or leakage of water or the        In Form HO 00 05:
         presence or condensation of humidity,              Under Coverages A, B and C:
         moisture or vapor, over a period of weeks,
                                                            Paragraph 2.d. is replaced by the following:
         months or years, unless such seepage or
         leakage of water or the presence or                       d. Constant or repeated seepage or leakage of
         condensation of humidity, moisture or vapor                  water or the presence or condensation of
         and the resulting damage is unknown to all                   humidity, moisture or vapor, over a period of
         "insureds" and is hidden within the walls or                 weeks, months or years, unless such
         ceilings or beneath the floors or above the                  seepage or leakage of water or the presence
         ceilings of a structure.                                     or condensation of humidity, moisture or
                                                                      vapor and the resulting damage is unknown
                                                                      to all "insureds" and is hidden within the walls
                                                                      or ceilings or beneath the floors or above the
                                                                      ceilings of a structure.




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Paragraph 2.e.(3) is replaced by the following:              SECTION I - CONDITIONS
         (3) Smog, rust or other corrosion;                  C. Duties After Loss
In Forms HO 00 02, HO 00 04 and HO 00 06, the                   Paragraph 1. is replaced by the following:
following peril is added:                                       1. Give prompt notice to us or our agent, except
17."Catastrophic Ground Cover Collapse"                            that a claim, supplemental claim or reopened
SECTION I - EXCLUSIONS                                             claim for loss or damage caused by hurricane or
                                                                   other windstorm must be given to us in
Paragraph 2. is replaced by the following:                         accordance with the terms of this Policy within
2. Earth Movement                                                  three years after the hurricane first made landfall
                                                                   or a windstorm other than hurricane caused the
   Earth movement means:
                                                                   covered damage. (Supplemental claim or
   a. Earthquake, including land shock waves or                    reopened claim means an additional claim for
      tremors before, during or after a volcanic                   recovery from us for losses from the same
      eruption;                                                    hurricane or other windstorm which we have
   b. Landslide, mudslide or mudflow;                              previously adjusted pursuant to the initial claim.)

   c. Subsidence or sinkhole; or                                   This provision concerning time for submission of
                                                                   a claim, supplemental claim or reopened claim
   d. Any other earth movement, including earth
                                                                   does not affect any limitation for legal action
      sinking, rising or shifting.
                                                                   against us as provided in this Policy under the
   This Exclusion 2. applies regardless of whether any             Suit Against Us Condition, including any
   of the above, in 2.a. through 2.d., is caused by an             amendment to that condition.
   act of nature or is otherwise caused.
                                                             D. Loss Settlement
   However, direct loss by fire, explosion or theft
                                                                In Forms HO 00 02, HO 00 03 and HO 00 05:
   resulting from any of the above, in 2.a. through 2.d.,
   is covered.                                                  Paragraph 2.d. is replaced by the following:

   This Exclusion 2. does not apply to loss by                      d. We will settle the loss as follows:
   "Catastrophic ground cover collapse".                              (1) If the Mobilehome Endorsement is not
(This is Exclusion A.2. in Forms HO 00 03 and                             made a part of this Policy, we will settle
HO 00 05. )                                                               the loss as noted in 2.a. of this provision.
                                                                          If 2.a. is not applicable, we will settle the
The following exclusion is added:
                                                                          loss as follows:
"Fungi", Wet Or Dry Rot, Or Bacteria
                                                                          (a) We will initially pay the actual cash
"Fungi", Wet Or Dry Rot, Or Bacteria, meaning the                             value of the building damage, minus
presence, growth, proliferation, spread or any activity                       any applicable deductible.
of "fungi", wet or dry rot, or bacteria.
                                                                          (b) We will then pay the necessary
This exclusion does not apply:                                                amounts actually spent to repair or
   a. When "fungi", wet or dry rot, or bacteria result                        replace the damaged building as
      from fire or lightning; or                                              work is performed and expenses are
                                                                              incurred.
   b. To the extent coverage is provided for in the
      "Fungi", Wet Or Dry Rot, Or Bacteria Additional                     (c) If a total loss, we will pay the
      Coverage under Section I - Property Coverages                           replacement cost amount without
      with respect to loss caused by a Peril Insured                          deduction for depreciation.
      Against other than fire or lightning.
Direct loss by a Peril Insured Against resulting from
"fungi", wet or dry rot, or bacteria is covered.




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        (2) If the Mobilehome Endorsement is made            Paragraph F. Appraisal is replaced by the following:
            a part of this Policy:                           F. Mediation Or Appraisal
           (a) We will pay no more than the actual              If you and we:
               cash value of the damage until actual
               repair or replacement is complete.               1. Are engaged in a dispute regarding a claim
               Once actual repair or replacement is                under this Policy, either party may demand a
               complete, we will settle the loss as                mediation of the loss in accordance with the
               noted in 2.a. and 2.b. of this                      rules established by the Florida Department of
               provision.                                          Financial Services. The loss amount must be
                                                                   $500 or more, prior to application of the
                 However, if the cost to repair or                 deductible, or there must be a difference of $500
                 replace the damage is both:                       or more between the loss settlement amount we
                 (i) Less than 5% of the amount of                 offer and the loss settlement amount that you
                     insurance in this Policy on the               request. The settlement in the course of the
                     building; and                                 mediation is binding only if both parties agree,
                 (ii) Less than $2,500;                            in writing, on a settlement and you have not
                                                                   rescinded the settlement within three business
                 we will settle the loss as noted in 2.a.          days after reaching settlement. You may not
                 and 2.b. of this provision whether or             rescind the settlement after cashing or
                 not actual repair or replacement is               depositing the settlement check or draft we
                 complete.                                         provided to you.
           (b) You may disregard the replacement                   We will pay the cost of conducting any
               cost loss settlement provisions and                 mediation conference except when you fail to
               make claim under this Policy for loss               appear at a conference. That conference will
               to buildings on an actual cash value                then be rescheduled upon your payment of the
               basis. You may then make claim for                  total cost for that rescheduled conference.
               any additional liability according to               However, if we fail to appear at a mediation
               the provisions of this Condition D.                 conference without good cause, we will pay the
               Loss Settlement, provided you notify                actual cash expenses you incur in attending the
               us, within 180 days after the date of               conference and also pay the total cost for the
               loss, of your intent to repair or replace           rescheduled conference.
               the damaged building.
                                                                2. Fail to agree on the amount of loss, either party
  Paragraph 2.e. is deleted.                                       may request an appraisal of the loss. However,
  In Form HO 00 06:                                                both parties must agree to the appraisal. In this
                                                                   event, each party will choose a competent and
  Paragraph 2. is replaced by the following:
                                                                   impartial appraiser within 20 days after receiving
   2. Coverage A - Dwelling, at the actual cost to                 a written request from the other. The two
      repair or replace.                                           appraisers will choose an umpire. If they cannot
     In this provision, the terms "repaired" and                   agree upon an umpire within 15 days, you or we
     "replaced" do not include the increased costs                 may request that the choice be made by a judge
     incurred to comply with the enforcement of any                of a court of record in the state where the
     ordinance or law, except to the extent that                   "residence premises" is located. The appraisers
     coverage for these increased costs is provided                will separately set the amount of the loss. If the
     in D.10. Ordinance Or Law under Section I -                   appraisers submit a written report of an
     Property Coverages.                                           agreement to us, the amount agreed upon will
                                                                   be the amount of the loss. If they fail to agree,
                                                                   they will submit their differences to the umpire. A
                                                                   decision agreed to by any two will set the
                                                                   amount of the loss.




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      Each party will:                                           2. The Mobilehome Endorsement is not made a
       a. Pay its own appraiser; and                                part of this Policy and the damaged property is:

       b. Bear the other expenses of the appraisal and               a. Not insured for Replacement Cost Loss
          umpire equally.                                               Settlement as outlined in Section I -
                                                                        Conditions, Loss Settlement, and we give
In Form HO 00 06:                                                       you written notice within 30 days after we
Paragraph G. Other Insurance            And      Service                receive your signed, sworn proof of loss, we
Agreement is replaced by the following:                                 may repair or replace any part of the
                                                                        damaged property with material or property
G. Other Insurance And Service Agreement
                                                                        of like kind and quality.
   If a loss covered by this Policy is also covered by
                                                                     b. Insured    for   Replacement    Cost     Loss
   other insurance or a service agreement covering
                                                                        Settlement as outlined in Section I -
   the same property, this insurance will be excess
                                                                        Conditions, Loss Settlement, we will pay the
   over the amount recoverable under such other
                                                                        amount of loss as noted in Paragraph
   insurance or service agreement.
                                                                        D.2.d.(1) of the Loss Settlement provision.
   However, if a loss covered by this Policy is covered
                                                              Paragraph J. Loss Payment is replaced             by the
   by other insurance covering the same property and
                                                              following:
   such other insurance is excess insurance over the
   amount recoverable under any other policy                  J. Loss Payment
   covering the same property, we will pay only the              We will adjust all losses with you. We will pay you
   proportion of the loss that the limit of liability that       unless some other person is named in the Policy or
   applies under this Policy bears to the total amount           is legally entitled to receive payment. Loss will be
   of such insurance covering the loss.                          payable upon the earliest of the following:
   Service agreement means a service plan, property              1. 20 days after we receive your proof of loss and
   restoration plan, home warranty or other similar                 reach written agreement with you;
   service warranty agreement, even if it is
   characterized as insurance.                                   2. 60 days     after   we receive your proof of loss
                                                                    and:
Paragraph H. Suit Against Us is replaced by the
following:                                                           a. There is an entry of a final judgment; or

H. Suit Against Us                                                   b. There is a filing of an appraisal award or a
                                                                        mediation settlement with us; or
   No action can be brought against us unless there
   has been full compliance with all of the terms under          3. If payment is not denied, within 90 days after we
   Section I of this Policy and the action is started               receive notice of an initial, reopened or
   within five years after the date of loss.                        supplemental claim. However, this provision
                                                                    (J.3.) does not apply if factors beyond our
Paragraph I. Our Option is replaced by the following:               control reasonably prevent such payment.
I. Our Option                                                 Paragraph R. Concealment Or Fraud is replaced by
   In Forms HO 00 02, HO 00 03 and HO 00 05:                  the following:
   If at the time of loss:                                    R. Concealment Or Fraud
   1. The Mobilehome Endorsement is made a part of               We provide coverage to no "insureds" under this
      this Policy, and we give you written notice within         Policy if, whether before or after a loss, an "insured"
      30 days after we receive your signed, sworn                has:
      proof of loss, we may repair or replace any part           1. Intentionally concealed or misrepresented any
      of the damaged property with material or                      material fact or circumstance;
      property of like kind and quality.
                                                                 2. Engaged in fraudulent conduct; or




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   3. Made material false statements;                            4. Our total liability under Coverage F for all
   relating to this insurance.                                      medical expense payable for "bodily injury" to
                                                                    one person as the result of one accident will not
   However, if this Policy has been in effect for more              be more than the Limit Of Liability for Coverage
   than 90 days, we may not deny a claim filed by you               F as shown in the Declarations.
   or an "insured" on the basis of credit information
   available in public records.                                  This condition does not apply with respect to
                                                                 damages arising out of "fungi", wet or dry rot, or
(This is Paragraph Q. in HO 00 04.)                              bacteria when Endorsement HO 03 34 is attached.
SECTION II - EXCLUSIONS                                       Paragraph J. Concealment Or Fraud is replaced by
E. Coverage E - Personal Liability And Coverage F -           the following:
   Medical Payments To Others                                 J. Concealment Or Fraud
   Paragraph 8. Controlled Substances is replaced in             We do not provide coverage to an "insured" who,
   all forms and Endorsement HO 24 73 by the                     whether before or after a loss, has:
   following:
                                                                 1. Intentionally concealed or misrepresented any
   8. Controlled Substances                                         material fact or circumstance;
       "Bodily injury" or "property damage" arising out          2. Engaged in fraudulent conduct; or
       of the use, sale, manufacture, delivery, transfer
       or possession by any person of a Controlled               3. Made material false statements;
       Substance as defined under federal law.                   relating to this insurance.
       Controlled Substances include but are not                 However, if this Policy has been in effect for more
       limited to cocaine, LSD, marijuana and all                than 90 days, we may not deny a claim filed by you
       narcotic drugs. However, this exclusion does              or an "insured" on the basis of credit information
       not apply to the legitimate use of prescription           available in public records.
       drugs by a person following the lawful orders of
       a licensed health care professional.                   SECTIONS I AND II - CONDITIONS

   (This is Exclusion 9. in HO 24 73.)                        Paragraph    C.   Cancellation    is   replaced   by   the
                                                              following:
SECTION II - CONDITIONS
                                                              C. Cancellation
Paragraph A. Limit Of Liability is replaced by the
following:                                                       1. You may cancel this Policy at any time by
                                                                    returning it to us or by letting us know in writing
A. Limit Of Liability                                               of the date cancellation is to take effect.
   1. Our total liability under Coverage E for all               2. If a state of emergency is declared by the
      damages resulting from any one "occurrence"                   Governor and the Commissioner of Insurance
      will not be more than the Limit Of Liability for              Regulation files an Emergency Order, and the
      Coverage E as shown in the Declarations. All                  "residence premises" has been damaged as a
      "bodily injury" and "property damage" resulting               result of a hurricane or wind loss that is the
      from any one accident or from continuous or                   subject of the declared emergency, we may
      repeated exposure to substantially the same                   cancel this Policy only for the following reasons,
      general harmful conditions shall be considered                with respect to the period beginning from the
      to be the result of one "occurrence".                         date the state of emergency is declared to the
   2. Sublimit Of Liability                                         expiration of 90 days following the repairs to the
       Subject to Paragraph 1. above, our total liability           dwelling or other structure located on the
       under Coverage E for damages for which an                    "residence premises", by letting you know in
       "insured" is legally liable because of statutorily           writing of the date cancellation takes effect. This
       imposed        vicarious  parental  liability not            cancellation notice may be delivered to you or
       otherwise excluded is $10,000. This sublimit is              mailed to you at your mailing address shown in
       within, but does not increase, the Coverage E                the Declarations. Proof of mailing will be
       limit of liability.                                          sufficient proof of notice.

   3. The limit of liability in 1. above and sublimit in 2.          a. When you have not paid the premium, we
      above apply regardless of the number of                           may cancel during this period by letting you
      "insureds", claims made or persons injured.                       know at least 10 days before the date
                                                                        cancellation takes effect.




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      b. If:                                                         (2) When this Policy has been in effect for 90
        (1) There has been a material misstatement                       days or less, we may cancel for any
            or fraud related to the claim;                               reason, except we may not cancel:

        (2) We     determine      that   you     have                    (a) On the basis of property insurance
            unreasonably caused a delay in the                               claims that are the result of an Act of
            repair of the dwelling or other structure;                       God, unless we can demonstrate, by
            or                                                               claims frequency or otherwise, that
                                                                             the "insured" has failed to take action
        (3) We have paid policy limits;                                      reasonably necessary as requested
         we may cancel during this period by letting                         by us to prevent recurrence of
         you know at least 45 days before the date                           damage to the insured property;
         cancellation takes effect.                                      (b) On the basis of a single claim which is
      c. We shall be entitled to collect any additional                      the result of water damage, unless we
         premium required to keep the Policy in effect                       can demonstrate that the "insured"
         during this period.                                                 has failed to take action reasonably
                                                                             requested by us to prevent a future
         However, this provision (C.2.c.) does not
                                                                             similar occurrence of damage to the
         apply if you have obtained replacement
                                                                             insured property; or
         coverage with respect to the damaged
         property, and the coverage is in effect for a                   (c) On the basis of the lawful use,
         claim occurring during the duration of the                          possession or ownership of a firearm
         extension.                                                          or ammunition by an "insured" or
                                                                             members     of    the    "insured's"
   3. If the conditions described in Paragraph C.2. do
                                                                             household.
      not apply, we may cancel only for the following
      reasons:                                                        Except as provided in Paragraphs C.3.a. and
                                                                      C.3.b.(1) of this provision, we will let you
      a. When this Policy has been in effect for 90
                                                                      know of our action at least:
         days or less, we may cancel immediately if:
                                                                         (a) 120 days before the date cancellation
        (1) There has been a material misstatement
                                                                             takes    effect  if    the   "residence
            or misrepresentation or failure to comply
                                                                             premises" has been insured by us or
            with underwriting requirements; and
                                                                             any of our affiliated insurers for at
        (2) The "residence premises" has not been                            least five years immediately prior to
            insured by us or any of our affiliated                           the date of the written notice; or
            insurers    for at  least  five  years
                                                                         (b) 20 days before the date cancellation
            immediately prior to the date of the
                                                                             takes effect in all other cases.
            written notice.
                                                                     (3) When this Policy has been in effect for
      b. We may also cancel this Policy subject to the
                                                                         more than 90 days, we may cancel:
         following provisions. A written cancellation
         notice, together with the specific reasons for                  (a) If there  has     been    a   material
         cancellation, will be delivered to you or                           misstatement;
         mailed to you at your mailing address shown                     (b) If the risk has changed substantially
         in the Declarations.                                                since the Policy was issued;
         Proof of mailing will be sufficient proof of                    (c) In the event of failure to comply with
         notice.                                                             underwriting              requirements
        (1) When you have not paid the premium, we                           established by us within 90 days of
            may cancel at any time by letting you                            the effective date of coverage;
            know at least 10 days before the date                        (d) If the cancellation is for all insureds
            cancellation takes effect.                                       under policies of this type for a given
                                                                             class of insureds;




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           (e) On the basis of property insurance                 4. If the date of cancellation becomes effective
               claims that are the result of an Act of               during a "hurricane occurrence":
               God, if we can demonstrate, by                         a. The date of cancellation will not become
               claims frequency or otherwise, that                       effective until the end of the "hurricane
               the "insured" has failed to take action                   occurrence"; and
               reasonably necessary as requested
               by us to prevent recurrence of                         b. We shall be entitled to collect additional
               damage to the insured property; or                        premium for the period beyond the original
                                                                         date of cancellation for which the Policy
            (f) On the basis of a single claim which is                  remains in effect.
                the result of water damage, if we can
                demonstrate that the "insured" has                   However, this provision (C.4.) does not apply if
                failed to take action reasonably                     you have obtained replacement coverage with
                requested by us to prevent a future                  respect to the damaged property, and the
                similar occurrence of damage to the                  coverage is in effect for a claim occurring during
                insured property.                                    the duration of the "hurricane occurrence".

        (4) When this Policy has been in effect for               5. We may cancel this Policy after giving at least 45
            more than 90 days, we may not cancel:                    days' notice if the Florida Office of Insurance
                                                                     Regulation determines and approves of our plan
           (a) On the basis of the lawful use,                       that early cancellation of some or all of our
               possession or ownership of a firearm                  policies is necessary to protect the best
               or ammunition by an "insured" or                      interests of the policyholders due to our financial
               members      of   the    "insured's"                  condition,    lack of adequate reinsurance
               household; or                                         coverage for hurricane risk or other relevant
           (b) On the basis of credit information                    factors.
               available in public records.                       6. When this Policy is cancelled, the premium for
        (5) If any of the reasons listed in Paragraphs               the period from the date of cancellation to the
            C.3.b.(3)(a) - (f) apply, we will provide                expiration date will be refunded pro rata.
            the following notice:                                 7. If the return premium is not refunded with the
           (a) If the "residence premises" has been                  notice of cancellation or when this Policy is
               insured by us or any of our affiliated                returned to us, we will refund it within 15 days
               insurers for at least five years                      after the date cancellation takes effect.
               immediately prior to the date of the            Paragraph D. Nonrenewal is replaced by the following:
               written notice, we will let you know at
               least 120 days before the date                  D. Nonrenewal
               cancellation takes effect;                         1. We may elect not to renew this Policy. We may
           (b) If the date of cancellation becomes                   do so by delivering to you, or mailing to you at
               effective on or after December 1 and                  your mailing address shown in the Declarations,
               before June 1, we will let you know at                written notice, together with the specific reasons
               least 100 days before the date                        for nonrenewal. Proof of mailing will be sufficient
               cancellation takes effect; or                         proof of notice.

           (c) If the date of cancellation becomes                    a. If a state of emergency is declared by the
               effective on or after June 1 and before                   Governor      and   the   Commissioner      of
               December 1, we will let you know:                         Insurance Regulation files an Emergency
                                                                         Order, and the "residence premises" has
                 (i) At least 100 days before the date                   been damaged as a result of a hurricane or
                     cancellation takes effect; or                       wind loss that is the subject of the declared
                 (ii) By June 1;                                         emergency,      then,   during   the   period
                 whichever is earlier.                                   beginning from the date the state of
                                                                         emergency is declared to the expiration of
        If more than one notice requirement applies,                     90 days following the repairs to the dwelling
        we will provide the broadest notice.                             or other structure located on the "residence
                                                                         premises", we may elect not to renew this
                                                                         Policy only if:
                                                                        (1) You have not paid the renewal premium;




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        (2) There has been a material misstatement                 2. We will not nonrenew this Policy:
            or fraud related to the claim;                             a. On the basis of property insurance claims
        (3) We     determine      that   you     have                     that are the result of an Act of God, unless
            unreasonably caused a delay in the                            we can demonstrate, by claims frequency or
            repair of the dwelling or other structure;                    otherwise, that the "insured" has failed to
            or                                                            take action reasonably necessary as
        (4) We have paid policy limits.                                   requested by us to prevent recurrence of
                                                                          damage to the insured property;
         We may do so by letting you know at least 45
         days before the expiration date of the Policy.                b. On the basis of a single claim which is the
                                                                          result of water damage, unless we can
      b. We shall be entitled to collect any additional                   demonstrate that the "insured" has failed to
         premium required to keep the Policy in effect                    take action reasonably requested by us to
         during this period.                                              prevent a future similar occurrence of
         However, this provision (D.1.b.) does not                        damage to the insured property;
         apply if you have obtained replacement                        c. On the basis of filing of claims for loss
         coverage with respect to the damaged                             caused by sinkhole damage, unless:
         property, and the coverage is in effect for a
         claim occurring during the duration of the                      (1) The total of such property claim
         extension.                                                          payments equals or exceeds the policy
                                                                             limits of the Policy in effect on the date of
      c. If the conditions described in Paragraph                            loss for property damage to the covered
         D.1.a. do not apply, we may elect not to                            building(s); or
         renew this Policy by providing the following
         notice before the expiration date of this                       (2) You have failed to repair the structure in
         Policy:                                                             accordance     with   the     engineering
                                                                             recommendations upon which any loss
        (1) If the "residence premises" has been                             payment or policy proceeds were based;
            insured by us or any of our affiliated
            insurers    for  at  least   five   years                  d. On the basis of the lawful use, possession or
            immediately prior to the date of the                          ownership of a firearm or ammunition by an
            written notice, we will let you know at                       "insured" or members of the "insured's"
            least 120 days before the expiration date                     household; or
            of this Policy;                                            e. On the basis of credit information available in
        (2) If we elect not to renew this Policy due to                   public records.
            a revision in coverage for sinkhole loss or            3. If the date of nonrenewal becomes effective
            "catastrophic ground cover collapse", we                  during a "hurricane occurrence":
            will let you know at least 100 days before                 a. The expiration date of this Policy will not
            the expiration date of this Policy; or                        become effective until the end of the
        (3) If:                                                           "hurricane occurrence"; and
            (a) The date of nonrenewal becomes                         b. We shall be entitled to collect additional
                effective on or after December 1 and                      premium for the period the Policy remains in
                before June 1, we will let you know at                    effect.
                least 100 days before the expiration                  However, this provision (D.3.) does not apply if
                date of this Policy; or                               you have obtained replacement coverage with
            (b) The date of nonrenewal becomes                        respect to the damaged property, and the
                effective on or after June 1 and before               coverage is in effect for a claim occurring during
                December 1, we will let you know:                     the duration of the "hurricane occurrence".
                  (i) At least 100 days before the                 4. We may nonrenew this Policy after giving at
                      expiration date of this Policy; or              least 45 days' notice if the Florida Office of
                  (ii) By June 1;                                     Insurance Regulation determines and approves
                                                                      of our plan that early nonrenewal of some or all
                  whichever is earlier.                               of our policies is necessary to protect the best
         If more than one notice requirement applies,                 interests of the policyholders due to our financial
         we will provide the broadest notice.                         condition,    lack of adequate reinsurance
                                                                      coverage for hurricane risk or other relevant
                                                                      factors.




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The following conditions are added:                           I. Notification Regarding Access
H. Renewal Notification                                          If we require access to an "insured" or claimant or to
   If we elect to renew this Policy, we will let you know,       the insured property that is the subject of a claim,
   in writing:                                                   we must provide at least 48 hours' notice to you or
                                                                 the claimant, or your or the claimant's public
   1. Of our decision to renew this Policy; and                  adjuster or legal representative, before scheduling a
   2. The amount of renewal premium payable to us.               meeting with you, the "insured" or the claimant or
                                                                 prior to conducting an on-site inspection of the
   This notice will be delivered to you or mailed to you
                                                                 insured property. You or the claimant may deny
   at your mailing address shown in the Declarations
                                                                 access to the property if the notice has not been
   at least 45 days before the expiration date of this
                                                                 provided or may waive the 48-hour notice.
   Policy. Proof of mailing will be sufficient proof of
   notice.                                                    All other provisions of this Policy apply.




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                                                                                       HOMEOWNERS
                                                                                        HO 23 66 01 19




                                 SPECIAL NOTICE - FLORIDA
The following notice is added:



     LAW AND ORDINANCE: LAW AND ORDINANCE
  COVERAGE IS AN IMPORTANT COVERAGE THAT YOU
 MAY WISH TO PURCHASE. PLEASE DISCUSS WITH YOUR
                INSURANCE AGENT.

       FLOOD INSURANCE: YOU MAY ALSO NEED TO
     CONSIDER THE PURCHASE OF FLOOD INSURANCE.
    YOUR HOMEOWNER'S INSURANCE POLICY DOES NOT
   INCLUDE COVERAGE FOR DAMAGE RESULTING FROM
   FLOOD EVEN IF HURRICANE WINDS AND RAIN CAUSED
    THE FLOOD TO OCCUR. WITHOUT SEPARATE FLOOD
   INSURANCE COVERAGE, YOU MAY HAVE UNCOVERED
     LOSSES CAUSED BY FLOOD. PLEASE DISCUSS THE
     NEED TO PURCHASE SEPARATE FLOOD INSURANCE
        COVERAGE WITH YOUR INSURANCE AGENT.




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                                                                                                    HOMEOWNERS
                                                                                                     HO 23 70 05 13

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        WINDSTORM OR HAIL EXTERIOR PAINT OR
    WATERPROOFING EXCLUSION - SEACOAST - FLORIDA

Exclusion                                                  applied to the exterior of any building or structure
We will not pay for loss caused by windstorm or hail,      covered under this policy, unless the building or
including windstorm during a hurricane, to:                structure to which such loss occurs also sustains other
                                                           loss by windstorm or hail in the course of the same
1. Paint; or                                               storm event. But such coverage applies only if
2. Waterproofing material;                                 windstorm or hail is a covered Peril Insured Against
                                                           under Section I.
                                                           All other provisions of this policy apply.




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                                                                   300 Kimball Drive, Suite 500
                                                                   Parsippany, NJ 07054
                                                                   USA
                                                                   T +1 201 847 8600
                                                                   F +1 201 847 1780
                                                                   Toll Free +1 866 852 2990
                                                                   R.Teglia@westernworld.com
                                                                   westernworld.com

  March 10, 2021
                                                                                      Sent Via Email

  Santos Public Adjusters
  On behalf Of
  Ana Bracho
  101 Adams Ave.
  Magee, MS 39111

  RE:    Insured:              Ana Bracho
         Claim No.:            156143
         Loss Location:        10429 NW 63rd Terrace Miami, FL 33174
         Date of Loss:         05/25/2020
         Policy No.:           WHO8002519


  Dear Ms. Bracho,

  We recently received your claim for the above referenced loss. Based on the information you
  provided, your policy, and the inspection we have determined that the damage caused by water
  at 10429 NW 63rd Terrace Miami, FL 33174 is a covered loss. However, we are unable to provide
  coverage and payment for a portion of the claim.

  You have requested through the agent, AmWins Access Insurance Services, that Western World
  provide insurance coverage for the claim referenced above.

  Please show the adjuster’s estimate to your contractor and have that person contact the
  adjuster with any questions about price or scope. Please notify us of any potential changes in
  scope or price. Unapproved changes will not be covered.


  Your Dwelling damage claim has been calculated as follows:

   Replacement Cost                      $ 3,053.38
   Less Recoverable Depreciation         $     0.00
   Actual Cash Value                     $ 3,053.38
   Less Deductible                       $ 2,500.00
   Net Claim Payable                     $ 553.38

  One check for $553.38 has been authorized and will be sent to you separately. Unfortunately
  there is no coverage for the tile floors from construction and workmanship issues, as this is
  excluded by the policy.



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  If the full cost allowed for repair or replacement is found to be insufficient you must contact
  Western World Insurance to discuss any supplemental claim before repairs are initiated.
  Unapproved changes will not be covered.

  FACTS OF THIS CLAIM

  On May 28, 2020 you reported that a flooded porch allowed water to enter the home and resulted
  in interior water damage to the master bedroom. The inspection has been completed on the
  home and found damage to the master bedroom. However there was no covered damage found
  to the floor tiles based on the inspection completed on February 22, 2021 by the tile expert from
  Nativo Inc. Flooring & Construction Consultant, Mauricio Rodriguez.(please see the attached
  report) Unfortunately, Western World is unable to provide coverage for the tile, as the improperly
  installed tile in the master bathroom is excluded by the policy.

  WESTERN WORLD’S COVERAGE POSITION

  Please refer to your HO 00 03 05 11 HOMEOWNERS 3 – SPECIAL FORM:

  SECTION I – PERILS INSURED AGAINST
  A.   Coverage A – Dwelling And Coverage B – Other Structures
       1.      We insure against direct physical loss to property described in Coverages A
               and B.
       2.      We do not insure, however, for loss:
               a.     Excluded under Section I – Exclusions;

                 ****
                 c.      Caused by:
                         ****
                         (6)    Any of the following:
                                (a)     Wear and tear, marring, deterioration;
                                (b)     Mechanical breakdown, latent defect, inherent vice or any
                                        quality in property that causes it to damage or destroy itself;

                                 ****

  SECTION I – EXCLUSIONS
  A.   We do not insure for loss caused directly or indirectly by any of the following. Such loss is
       excluded regardless of any other cause or event contributing concurrently or in any
       sequence to the loss. These exclusions apply whether or not the loss event results in
       widespread damage or affects a substantial area.
       ****
  B.   We do not insure for loss to property described in Coverages A and B caused by any of the
       following. However, any ensuing loss to property described in Coverages A and B not
       precluded by any other provision in this policy is covered.
       ****
       3.      Faulty, inadequate or defective:
               ****
               b.       Design, specifications, workmanship, repair, construction, renovation,
                        remodeling, grading, compaction;
               d.       Maintenance;
               of part or all of any property whether on or off the "residence premises".

  The coverage issues that we have now investigated and analyzed on this claim involve the
  Homeowners 3 – Special Form above quoted, B.3.b. designs, specifications, workmanship and
  construction, excludes coverage for loss or damage from improperly installed tile. These


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  exclusions apply regardless of any other cause or event that contributes concurrently or in any
  sequence to the loss.

  An independent field adjuster assigned by Western World inspected the property with your Public
  adjuster and the tile Expert from Nativo Inc, Mauricio Rodriguez. During the inspection there was
  no covered damage found to the tile flooring in the home. Therefore, Western World is unable to
  provide coverage for the tile repairs.

  Although Western World is today declining coverage for portions of this claim, we will keep our
  file open for thirty days in case you wish to discuss our decision or wish to give us more or different
  information that may be relevant. We reserve the right to modify our position based on any such
  new or different information.

  We expressly reserve the right to assert any and all additional rights and defenses which a further
  investigation may reveal to be applicable for the loss claim. If you intend to proceed with litigation,
  strict compliance with the policy provisions will be required. No suit or action may be brought
  against us unless there has been full compliance with the policy terms. The Company does not
  waive any provisions or stipulation of the Policy or waive any right or defense under such Policy
  whether or not identified above.

  Hopefully, this letter has provided you with a clear explanation of our position regarding your
  insurance coverage for this claim. However, if you have any further questions concerning this
  letter or your claim, please feel free to call me at your convenience at 201-636-9702.



                                                         Sincerely,

                                                         Rich Teglia
                                                         Rich Teglia
                                                         Property Claims Specialist




                                                                                   EXHIBIT B
